Case 1:23-cv-03026-TOR   ECF No. 61-3   filed 03/24/23   PageID.1619 Page 1 of 131




                         Exhibit C
Case 1:23-cv-03026-TOR   ECF No. 61-3   filed 03/24/23   PageID.1620 Page 2 of 131




                     APPENDIX
Case 1:23-cv-03026-TOR          ECF No. 61-3       filed 03/24/23     PageID.1621 Page 3 of 131




                                   TABLE OF CONTENTS



Exhibit 1, Declaration of Graham T. Chelius, M.D............................ App.001

Exhibit 2, Declaration of Julie Amaon, M.D. ..................................... App.023

Exhibit 3, Declaration of Joey Banks, M.D. ....................................... App.037

Exhibit 4, Declaration of Jared Garrison-Jakel, M.D. ........................ App.043

Exhibit 5, Declaration of Erin King, M.D. ......................................... App.052

Exhibit 6, Declaration of Charisse M. Loder, M.D., M.SC. ............... App.060

Exhibit 7, Declaration of Jane Roe, M.D. ........................................... App.074

Exhibit 8, Declaration of Diana M. Pearce, Ph.D.
  & Pearce Decl. Appendix .............................................................. App.088
Case 1:23-cv-03026-TOR   ECF No. 61-3   filed 03/24/23   PageID.1622 Page 4 of 131




                         EXHIBIT 1
 Declaration of Graham T. Chelius, M.D.




                                                                            App.001
Case 1:23-cv-03026-TOR      ECF No. 61-3   filed 03/24/23   PageID.1623 Page 5 of 131




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                IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF HAWAIʻI


                                                CIV. NO. 1:17-cv-00493-JAO-RT
  GRAHAM T. CHELIUS, M.D., et al.,
                                                [CIVIL RIGHTS ACTION]
                     Plaintiffs,
                                                DECLARATION OF GRAHAM T.
                      vs.
                                                CHELIUS, M.D., IN SUPPORT OF
                                                PLAINTIFFS’ MOTION FOR
  XAVIER BECERRA, J.D., in his
                                                SUMMARY JUDGMENT
  official capacity as SECRETARY,
  U.S. D.H.H.S., et al.,
                                                Judge: Hon. Jill A. Otake
                     Defendants.                Hearing Date: Vacated per Dkt. 107
                                                Trial Date: Vacated per Dkt. 82



                                                                               App.002
Case 1:23-cv-03026-TOR      ECF No. 61-3    filed 03/24/23   PageID.1624 Page 6 of 131




Graham T. Chelius, M.D., declares and states as follows:


      1.       I make this declaration based on my own personal knowledge and if

called to testify I could and would do so competently as follows.

      2.       I am a plaintiff in the above-captioned litigation, which challenges the

U.S. Food and Drug Administration’s Risk Evaluation and Mitigation Strategy

(“REMS”) for Mifeprex. I provide this declaration in support of that litigation. I do

so in my individual capacity, and not on behalf of any entity with which I am

associated or where I practice, including my employer, Hawaii Health Systems

Corporation.

      3.       I am a board-certified Family Medicine physician based on the island

of Kaua‘i in Hawaiʻi. I practice medicine at Kauai Veterans Memorial Hospital

(“Kauai Veterans”) and its associated clinics, West Kauai Clinics. Kauai Veterans

is located on the western side of the island in the town of Waimea, Kaua‘i. Kauai

Veterans currently employs about 275 people.

      4.       I am currently the Chief of Staff at Kauai Veterans, a position I have

held since February 2018. Immediately before that, and after serving for several

years as a board member, I served as the Chief Medical Officer for the Hawaii

Health Systems Corporation’s Kaua‘i Region (which, in addition to Kauai

Veterans, included Samuel Mahelona Memorial Hospital, on the eastern side of the

                                            1
                                                                                  App.003
Case 1:23-cv-03026-TOR     ECF No. 61-3    filed 03/24/23   PageID.1625 Page 7 of 131




island in Kapa‘a, Kaua‘i), but resigned from that position in December 2017 in

favor of this new opportunity as Chief of Staff. In my role as Chief Medical

Officer, I was primarily responsible for managing the relationship between Hawaii

Health Systems Corporation and the physicians who serve the Kaua‘i region,

including participating in contract negotiations, overseeing physician staffing

assignments, and responding to any complaints brought against physicians by both

patients and staff. As Chief of Staff, I have very similar responsibilities, but rather

than acting as a representative of the administration I am an elected representative

of the physicians who form the medical staff. Both my current and former

positions require that I be involved in resolving most conflicts that arise among the

small clinical team at Kauai Veterans.

      5.     I received my medical degree from the University of Wisconsin in

2001, and completed my residency in Family Medicine at North Colorado Medical

Center. Since January 2009, I have been practicing medicine in Hawaiʻi at Kauai

Veterans.

      6.     In my current role as Chief of Staff, I continue to treat patients.

Within my specialty of Family Medicine, I focus in particular on women’s health,

including obstetrics, and on chemical dependency treatment.

      7.     During the twelve years that I have been practicing medicine in

Hawaiʻi, I would estimate that I have cared for more than 2,750 pregnant patients

                                           2
                                                                                   App.004
Case 1:23-cv-03026-TOR    ECF No. 61-3     filed 03/24/23   PageID.1626 Page 8 of 131




and delivered over 1,100 babies on the island of Kaua‘i. While many of my

patients have much-wanted pregnancies, a substantial percentage choose to end

their pregnancies, and come to me seeking abortion care. Most of these patients are

medically eligible for the FDA-approved medication abortion regimen: Mifeprex

followed by the drug misoprostol.

      8.     However, I am unable to prescribe Mifeprex to patients who need this

medication because, as detailed below, complying with the requirements in the

REMS that I procure, stock, and dispense Mifeprex at my health care facility—

rather than issuing a prescription, from the privacy of my office, for my patient to

fill at a pharmacy—would damage my professional standing locally, disrupt the

workplace dynamics I am responsible for maintaining, interfere with my ability to

continue to serve the many patients I now serve, and jeopardize my patients’

confidentiality. The Mifeprex REMS deters clinicians and harms patients by

imposing unique, unnecessary, and onerous requirements on their care. Put plainly,

the REMS impedes my and other clinicians’ ability to safely and appropriately care

for our abortion and miscarriage patients as we would patients seeking any other

service.

      9.     The distribution restriction substantially interferes with my ability to

practice medicine in accordance with my professional judgment. Because of the

Mifeprex REMS, I am unable to provide medication abortions to my patients, even

                                          3
                                                                                 App.005
Case 1:23-cv-03026-TOR    ECF No. 61-3    filed 03/24/23   PageID.1627 Page 9 of 131




in situations when my best medical judgment would strongly counsel in favor of

providing this care.

      10.    There is only a narrow window in which a patient can take the

Mifeprex-misoprostol regimen for early pregnancy termination: this method has

been approved by FDA only for the first ten weeks of pregnancy, and that is the

period during which clinicians generally prescribe it. But patients cannot know

they are pregnant until four weeks, and many patients do not realize they are

pregnant until their sixth to eighth week. By the time a patient sees me, they

typically have only a few weeks—indeed, often only a few days—in which to take

the medications. If they cannot access Mifeprex within the window of availability,

the only option is a surgical abortion. Nevertheless, because of the REMS, I am

unable to provide medication abortion care in these time-sensitive situations.

      11.    There are no abortion providers on Kauaʻi, a federally designated

“medically underserved area.” The closest provider of abortion services is on

O‘ahu, which can be reached only by airplane. I have seen the anxiety and

confusion in my patients’ eyes when I tell them that they have to fly to O‘ahu to

obtain an abortion. I have heard them describe their frustration, anger, and

heartbreak. For some patients—many of whom are already experiencing

significant anxiety as a result of the unwanted pregnancy, and some of whom are

also struggling with the challenges and trauma of poverty, drug addiction,

                                          4
                                                                                 App.006
Case 1:23-cv-03026-TOR     ECF No. 61-3     filed 03/24/23   PageID.1628 Page 10 of 131




 joblessness, and/or domestic violence—this news is simply devastating.

       12.    Traveling to O‘ahu for a surgical abortion costs my patients money

 and time, and causes them stress. Many are forced to make significant personal and

 financial sacrifices in order to get the health care they need. They must find the

 money to pay, or if possible make arrangements for insurance to pay, for the costs

 of transportation to and from the airports on both islands, and for the flights

 themselves. They must arrange to take time off from work or school, and arrange

 for child care if they have children, which most do. If a loved one is accompanying

 them to O‘ahu for support, that person must bear these costs as well. This travel

 and related logistics also impose significant psychological and emotional strain on

 many of my patients, and in my experience can be especially hard on young

 women, women struggling with substance abuse, women for whom English is not

 their first language, and women who are homeless.

       13.    Raising the money and making arrangements to travel is often time-

 consuming. Given the circumstances of my patients’ lives, it is not uncommon for

 it to take several weeks, a month, or longer. Indeed, even for those of my patients

 fortunate enough to have insurance coverage for the abortion procedure and the

 travel to obtain it (though, of course, still not for child care, missed work, or food

 away from home), it typically takes one to two weeks just for the paperwork to be

 approved. As previously noted, delays often mean that patients are no longer

                                            5
                                                                                   App.007
Case 1:23-cv-03026-TOR     ECF No. 61-3    filed 03/24/23   PageID.1629 Page 11 of 131




 eligible for medication abortion at all, and instead must have a surgical procedure.

 Moreover, while abortion is very safe, the risks increase as pregnancy advances.

 And, on top of that, patients whose abortions are delayed also face health risks

 associated with continuing a pregnancy for additional days, weeks, or months. For

 such patients, delaying their abortion means they are sicker, longer.

       14.    I recall one patient whose experience powerfully illustrates many of

 the harms caused and burdens created by the REMS. She is a woman whom I had

 been treating for substance use disorder and who had previously seen us for

 obstetrical care for her first child. She came to my office seeking an abortion prior

 to 10 weeks of pregnancy. After evaluating her, I concurred that a medication

 abortion was an appropriate treatment, that she could utilize the Mifeprex-

 misoprostol regimen, and that she should do so without delay. I wanted to—and

 would have—provided her with the medication abortion she desired if I could have

 written a prescription for Mifeprex for her to fill at a pharmacy. But, because of the

 REMS, I could not provide that care to my patient. Instead, she was forced to

 travel to O‘ahu.

       15.    Because of the complications in this woman’s life, by the time she

 was finally able to make the journey to O‘ahu, more than six weeks had passed. At

 that point, she had to have a two-day dilation and evacuation (“D&E”) abortion

 instead of the medication abortion she had wanted. Not only is D&E a significantly

                                           6
                                                                                 App.008
Case 1:23-cv-03026-TOR     ECF No. 61-3    filed 03/24/23   PageID.1630 Page 12 of 131




 more complex and invasive procedure, but it also required her to bear the costs of

 staying on O‘ahu—in a hotel, away from her home and her family—overnight.

 This was utterly unaffordable for her. Indeed, I understand that she called her sister

 on the day of her first appointment to tell her that she was on O‘ahu for an abortion

 and had only $20 in her pocket. Her sister jumped on the plane to help my patient

 find lodging and provide her with emotional support during the procedure—which

 of course meant that my patient’s sister also had to bear the costs of a round-trip

 flight, hotel, and food during her stay. Fortunately, her sister managed to drop

 everything and come to her aid, but otherwise I don’t know how she would have

 managed to get to and from her appointments or where she would have stayed

 overnight.

       16.    I still feel frustrated and upset that my patient and her family had to

 bear the emotional trauma, financial burdens, and medical risks of this experience.

 And she is far from the only patient I have had who was eligible for medication

 abortion at the time I saw her, but ultimately had to not only fly to O‘ahu to get the

 care they needed, but by the time they did so were too late for a medication

 abortion and had to have a procedure instead. Again, none of this would be

 necessary if I could have simply written this patient, and other patients like her, a

 prescription for Mifeprex when she was in my office early in her pregnancy.




                                            7
                                                                                    App.009
Case 1:23-cv-03026-TOR     ECF No. 61-3    filed 03/24/23   PageID.1631 Page 13 of 131




       17.   While that patient was ultimately able to get an abortion—not all of

 my patients are. In some cases, the travel burdens created by the Mifeprex REMS

 are simply untenable, and my patients end up carrying pregnancies to term and

 having children against their will. For instance, one patient who struggles with

 chemical dependency never was able to get to O‘ahu, despite her expressed desire

 for an abortion and despite extensive assistance with the travel arrangements. As a

 result, she was forced to carry the pregnancy to term (and her child was exposed to

 drugs throughout the entire pregnancy). I have continued to care for such patients

 through the course of their pregnancies and beyond, and have seen firsthand the

 emotional, physical, and financial burdens that an unwanted pregnancy can cause.

       18. Sadly, the situation is even worse for women who live on Ni‘ihau,

 which is a sparsely populated island just west of Kaua‘i. There are no paved roads,

 and no cell coverage—let alone health care—on Ni‘ihau. Because of the lack of

 access to reproductive health care on-island, women on Ni‘ihau have to schedule

 transportation by boat to Kaua‘i just to see a doctor. My hospital delivers virtually

 all the babies for pregnant women on Ni‘ihau. If a woman on Ni‘ihau wants to

 terminate her pregnancy, the obstacles are even greater for her than for a woman

 on Kaua‘i. But if the REMS did not exist, she could simply go to Kaua‘i to obtain

 Mifeprex the same day, instead of going to Kaua‘i only to then get referred to an

 O‘ahu-based abortion provider and facing all the associated obstacles. I mention

                                           8
                                                                                 App.010
Case 1:23-cv-03026-TOR     ECF No. 61-3   filed 03/24/23   PageID.1632 Page 14 of 131




 Ni‘ihau just to show how burdens can aggregate and compound into an entirely

 insurmountable barrier to accessing safe abortion care.

       19.    I became a doctor to make my patients’ lives easier, less painful, and

 more fulfilling. But, because of the REMS, I must watch them suffer medical,

 emotional, and financial burdens when I cannot provide them with the abortion

 care that they desire. In addition, as a physician, I am concerned about continuity

 of care—yet the restrictions imposed by the Mifeprex REMS mean that I must

 needlessly hand off my patients to someone else for care, breaking that continuity

 for absolutely no medical reason. While I am confident that the providers to whom

 I refer my patients in O‘ahu provide high-quality care, it pains me to have to turn

 my patients away and send them off island to get care they need and that I am

 perfectly competent to provide. The Mifeprex REMS thus prevents me from

 providing uninterrupted, comprehensive primary health care to my patients, as I

 strive to do whenever possible. It violates my fundamental beliefs as a health care

 provider to have to deny a patient’s request for time-sensitive, medically indicated

 care only because of medically unjustified restrictions like the Mifeprex REMS.

       20.    For the past several years, some of my patients have been able to

 avoid most of these burdens by participating in the Telemedicine Abortion Study

 (“TelAbortion”), which is run through the University of Hawai‘i. This study—

 which I understand operates as a temporary waiver of the REMS—allows certain

                                           9
                                                                                  App.011
Case 1:23-cv-03026-TOR     ECF No. 61-3    filed 03/24/23   PageID.1633 Page 15 of 131




 qualifying patients to receive Mifeprex by overnight mail from the study’s

 principal investigators on O‘ahu without having to fly to that island for care.

 Recognizing how difficult the journey to O‘ahu is for many of my patients,

 wherever possible, I have assisted them in participating in the study. I believe this

 model of care delivery—mailing Mifeprex following a telemedicine visit—is safe

 and effective and a valuable option for my patients.

       21.    But the TelAbortion study’s process carries its own burdens and

 complexities, and therefore excludes the most vulnerable, highest-risk patients.

 The cost of participation in TelAbortion presents the first hurdle. While the State

 of Hawaiʻi generally covers the cost of abortion services through its Medicaid

 program, it does not cover the cost of Mifeprex obtained through the TelAbortion

 study. Thus, Medicaid enrollees must pay out-of-pocket for Mifeprex provided

 through the study. This effectively excludes or deters many lower-income patients

 from participating.

       22.    The logistics are another hurdle. In most cases, the study protocols

 require that a participating patient first have a blood test and ultrasound performed,

 and then mail, fax, or email the results to a physician at the University of Hawaiʻi.

 Then, that physician must connect with the patient by secure videoconference at a

 set appointment time. Some of my patients—including some who are homeless,

 poor, or live in extremely remote parts of Kaua‘i—do not have reliable internet or

                                           10
                                                                                   App.012
Case 1:23-cv-03026-TOR     ECF No. 61-3    filed 03/24/23   PageID.1634 Page 16 of 131




 cell phone service, access to technology with secure videoconferencing capability,

 or the ability to use this technology in a private space where they can speak

 confidentially. In such cases, I often have to step in to help them. On several

 occasions, I have stayed late at my office to let a patient use my computer to

 participate in the study, but this is not always possible: my patients’ schedule, my

 schedule, and the schedule of the physicians on O‘ahu do not always align, and

 certainly do not always align before the patient’s window for a medication abortion

 closes. Helping my patients participate in the TelAbortion study has taken, and

 continues to take, many hours of my time—and even so, some of my patients still

 cannot successfully use it.

       23.    A third hurdle is that participating patients must have a physical

 address to which a package can be securely and confidentially mailed. But my

 patients who are homeless do not have such a safe address. So the study also

 cannot provide relief to such patients.

       24.     For all patients, even if they can gather the resources to participate in

 TelAbortion, the processes and requirements of participating in a research study

 delay care. I have on numerous occasions seen patients who were still within the

 window for a medication abortion, but did not have enough time to access it

 through the study.




                                           11
                                                                                   App.013
Case 1:23-cv-03026-TOR     ECF No. 61-3    filed 03/24/23   PageID.1635 Page 17 of 131




       25.    Critically, I understand that the TelAbortion study is only temporary.

 When it ends, it will no longer exist as an option for me and my patients.

       26.    The harms and burdens I have described that both my patients and I

 are experiencing flow directly from my inability to issue a prescription for

 Mifeprex to be filled at a pharmacy or by mail order as I can do with countless

 other equally or less safe drugs. Most of these harms and burdens would be entirely

 eliminated, or substantially reduced, if the REMS were eliminated.

       27.    In addition, the REMS imposes a broader set of harms by deterring

 and blocking qualified clinicians from becoming medication abortion providers

 through its unique and unnecessary barriers. First, in order to comply with the

 requirement in the REMS that I procure, stock, and dispense Mifeprex at my

 medical facility, I would have to risk serious damage to my professional standing

 in my workplace and to my respected role in the local community. Abortion is an

 issue about which people hold very strong views, and some of my colleagues and

 staff members strongly oppose it. In my tight-knit workplace, attempting to

 establish a policy for procuring, stocking, and dispensing Mifeprex at our facility

 would create internal conflict, undermining the team cohesion that I am

 responsible for developing and maintaining as Chief of Staff. It would also

 jeopardize my ability to continue in that elected position, threaten initiatives I am

 undertaking to improve care within our hospital system, and reduce the time I have

                                           12
                                                                                   App.014
Case 1:23-cv-03026-TOR     ECF No. 61-3     filed 03/24/23   PageID.1636 Page 18 of 131




 to treat patients. I cannot afford these personal and professional risks.

       28.    To be clear, many of my colleagues and staff already know that I

 provide abortion referrals. I know that some staff oppose even this; some have

 directly expressed such views to me. But if I were to comply with the Mifeprex

 REMS, I would be doing more than just supporting access to abortion in my

 individual professional capacity—I would also have to involve, and win the

 approval of, multiple colleagues and staff members in the process of procuring,

 stocking, dispensing, and billing for Mifeprex within our health care facility.

 Asking or demanding that my colleagues who have deeply held views against

 abortion participate or assist in providing abortions would cause significant

 conflict among my staff—conflict that, as Chief of Staff, I would also be required

 to manage, if possible. The negative consequences for my professional standing

 and for carefully nurtured workplace dynamics, which benefit all of our patients,

 deter me from attempting to comply with the Mifeprex REMS.

       29.    Relatedly, I also have had serious personal safety concerns about the

 requirement in the REMS that I register with the drug manufacturer and drug

 distribution company as an abortion provider. I understand that they must keep

 confidential the list of clinicians registered to prescribe Mifeprex. But particularly

 in light of the many recent health care hacking incidents, I have been concerned

 about being inadvertently or maliciously exposed as an abortion provider, and the

                                           13
                                                                                   App.015
Case 1:23-cv-03026-TOR     ECF No. 61-3    filed 03/24/23   PageID.1637 Page 19 of 131




 resulting likelihood of public backlash to me and my family.

        30.   Of course, my name is now public in the context of this litigation, and

 my experience since filing this lawsuit has validated my earlier concerns. Since the

 lawsuit was filed, I have received numerous phone calls and letters from strangers

 relating to this litigation. Many of those communications were positive and

 supportive. But a few were negative and concerning. Based on security

 consultations, I now carefully examine envelopes for toxic material, and have tried

 to remember to only open packages that I have been expecting. We also installed a

 security system at our house. In a country where abortion clinic shootings are

 commonplace and abortion providers have been assassinated, I have feared risking

 my and my family’s safety by following through with what the Mifeprex REMS

 requires.

        31.   I ultimately made the difficult choice to publicize my desire to

 provide abortion care through this lawsuit, because I believe this case has the

 potential to expand access to medication abortion for patients all across the

 country. My family and I felt that this goal was worth the risk to our safety and

 privacy. But we did not make that choice lightly, and I expect that I am not the

 only physician who has found the REMS requirement that I add my name to a list

 of all medication abortion providers in the country a serious deterrent to providing

 this care.

                                          14
                                                                                   App.016
Case 1:23-cv-03026-TOR     ECF No. 61-3    filed 03/24/23   PageID.1638 Page 20 of 131




       32.    I am also concerned that compliance with the Mifeprex REMS would

 jeopardize my patients’ privacy. By requiring that my facility be responsible for

 the purchasing, stocking, dispensing, and billing of Mifeprex—discrete

 responsibilities held by discrete members of our staff—the REMS injects many

 more people into the abortion care process. This raises real confidentiality

 concerns in the small-town community in which I practice. Everybody knows you

 and you know everybody in Waimea, a town of fewer than 2,000 people on an

 island of just over 65,000. In fact, it is not uncommon for members of my staff to

 bump into my patients at the grocery store, gym, or on the street. For myself, going

 to either of the two grocery stores in Waimea is a social event due to the fact that I

 will certainly know someone either working or shopping at the store.

       33.    Additionally, many members of the community have a family

 member, friend, or neighbor employed at Kauai Veterans, and, as a result,

 members of our community are sometimes nervous about seeking intimate medical

 care from us out of fear for their confidentiality. Certain elements of a person’s

 medical history (history of abortion, sexually transmitted diseases such as HIV or

 gonorrhea, a history of rape, struggles with substance use disorder) are closely

 guarded by patients due to real or perceived stigma from those in the general

 population and medical providers.




                                           15
                                                                                  App.017
Case 1:23-cv-03026-TOR      ECF No. 61-3    filed 03/24/23   PageID.1639 Page 21 of 131




       34.    For instance, I have a patient who, while pregnant, asked that a

 specific doctor not be involved in her care because she was afraid that the provider

 might divulge her medical history to family members of the doctor whom the

 patient also knew. Fortunately, I was able to sufficiently reassure this patient that I

 trust this physician to respect her confidentiality, which resulted in this patient

 continuing to receive care from us. But there is no doubt that, in our community,

 patients struggle with the decision of whether to get adequate medical care due to

 concerns about their confidentiality. And, indeed, it would be entirely reasonable

 for a patient to fear for the privacy of her abortion decision if she happens to know,

 for instance, some of the numerous people who may be involved with the billing,

 ordering, recording, and physical dispensing of medication at our facility (which,

 again, is a perfectly plausible scenario in our small town).

       35.    By contrast, if the Mifeprex REMS did not exist, I would be able to

 write a prescription for Mifeprex for my patient without needing to let anyone else

 know about the prescription except, at most, the patient’s nurse, a medical records

 clerk, and the patient’s trusted pharmacist (or a pharmacy on the other side of the

 island, or a mail-order pharmacy, if that is the patient’s preference). The risk to my

 patients’ confidentiality is thus substantially higher under the Mifeprex REMS.




                                           16
                                                                                   App.018
Case 1:23-cv-03026-TOR      ECF No. 61-3    filed 03/24/23   PageID.1640 Page 22 of 131




       36.    The Mifeprex REMS also presents significant logistical hurdles. In

 order to stock and dispense Mifeprex onsite, I would need to first get a policy

 created for storing and dispensing the drug in the clinic, and then secure approval

 from the Pharmacy and Therapeutics committee at Kauai Veterans. I would also

 need to complete and submit all of the paperwork associated with becoming a

 certified prescriber under the Mifeprex REMS and setting up an account with the

 drug distribution company—a process that would take even more time and effort

 because the purchasing agreement would need to go through our contracting office,

 which has to follow burdensome state contracting guidelines and rules.

       37.    Of course, I am not now a certified prescriber (though I could easily

 satisfy the stated criteria for prescribing clinicians), because the certification

 requires me to provide a billing address and a shipping address where the Mifeprex

 can be sent to and then dispensed from—which, for the reasons I have stated, I am

 unable to do. And regardless of any certification requirement, I now provide and

 will always provide only medical care within the scope of practice for which I’m

 qualified. That is a well-recognized, basic standard of the medical profession.

       38.    As I have already noted, this approval process would be extremely

 challenging in the tense political climate surrounding abortion at my hospital, and

 it would almost certainly be subject to interference by colleagues and others who

 vehemently oppose abortion and therefore would object to a decision to stock

                                            17
                                                                                      App.019
Case 1:23-cv-03026-TOR     ECF No. 61-3    filed 03/24/23   PageID.1641 Page 23 of 131




 Mifeprex in our hospital system. As Chief of Staff tasked with maintaining good

 working relationships in my hospital, I find these risks unacceptable. They would

 not only interfere with my supervisory role, and the long-term positive changes for

 overall patient care that I am attempting to accomplish in that role, but also take

 valuable time away from my own practice.

       39.    In addition, I understand that the Mifeprex REMS would also require

 me to provide my patients with, and discuss and sign, a “Patient Agreement Form”

 describing the proper usage of, and risks associated with, Mifeprex as of March

 2016. This special form requirement is unnecessary and singles out abortion in a

 manner that other medications, even much less safe medications, are not.

       40.    Informed consent counseling is a bedrock of medical care, taught as a

 core skill in medical school and reinforced by the American Medical Association’s

 Code of Medical Ethics. I do not need any special requirement or form to ensure

 that I provide every patient with informed consent counseling, including discussion

 of proper usage and risks and what to do in the event that they need follow-up or

 emergency care. In fact, much less safe medications that I use in my chemical

 dependency practice, such as Sublocade®, which are controlled substances and are

 very high risk for patients, do not require any such “patient agreement form.” Nor

 do the many other medications that I prescribe, that patients fill at a pharmacy, and

 that they take at home.

                                           18
                                                                                  App.020
Case 1:23-cv-03026-TOR      ECF No. 61-3    filed 03/24/23   PageID.1642 Page 24 of 131




       41.    The bottom line is that, because of the REMS, I have been unable to

 provide my patients with essential health care that they need and that I am fully

 capable of providing. The REMS delays care, and forces patients to jump through

 hoops that are unnecessary, stigmatizing, and confusing. For some patients, the

 Mifeprex REMS makes abortion beyond reach. I greatly hope that Plaintiffs’

 motion for summary judgment once and for all lifts the unjustified REMS

 requirements from this safe, important drug, so that many other clinicians and I can

 provide it via prescription to our patients who need it.

       42.     I learned on April 13, 2021, that FDA has suspended the in-person

 dispensing requirement and authorized use of a mail-order pharmacy for providing

 patients with Mifeprex during the COVID-19 Public Health Emergency. I am

 exploring whether it will be possible for me to prescribe through a mail-order

 pharmacy under the special “supervision” requirement still imposed by FDA, and

 what kinds of contracts and/or billing practices may be necessary under FDA’s

 non-enforcement guidance (which, of course, continues to treat Mifeprex

 differently than virtually all other drugs). I understand further that, even if I am

 able to take advantage of this in the short-term, this temporary allowance expires

 when the public health emergency ends. In short, there is an urgent need for




                                           19
                                                                                   App.021
Case 1:23-cv-03026-TOR     ECF No. 61-3       filed 03/24/23   PageID.1643 Page 25 of 131



  pennanent relief through this litigation.



        I declare under penalty of perjury that the foregoing is true and correct.

  Executed on     L{ / ( '{          , 2021




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                                                                                 App.022
Case 1:23-cv-03026-TOR   ECF No. 61-3   filed 03/24/23   PageID.1644 Page 26 of 131




                         EXHIBIT 2
        Declaration of Julie Amaon, M.D.




                                                                            App.023
Case 1:23-cv-03026-TOR       ECF No. 61-3   filed 03/24/23   PageID.1645 Page 27 of 131




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                 IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF HAWAIʻI


                                                  CIV. NO. 1:17-cv-00493-JAO-RT
  GRAHAM T. CHELIUS, M.D., et al.,
                                                  [CIVIL RIGHTS ACTION]
                      Plaintiffs,
                                                  DECLARATION OF JULIE
                       vs.
                                                  AMAON, M.D., IN SUPPORT OF
                                                  PLAINTIFFS’ MOTION FOR
  XAVIER BECERRA, J.D., in his
                                                  SUMMARY JUDGMENT
  official capacity as SECRETARY,
  U.S. D.H.H.S., et al.,
                                                  Judge: Hon. Jill A. Otake
                      Defendants.                 Hearing Date: Vacated per Dkt. 107
                                                  Trial Date: Vacated per Dkt. 82



                                                                                App.024
Case 1:23-cv-03026-TOR     ECF No. 61-3     filed 03/24/23   PageID.1646 Page 28 of 131




 Julie Amaon, M.D., declares and states as follows:

       1.     I make this declaration based on my own personal knowledge. If

 called to testify, I could and would do so competently as follows.

       2.     I am a board-certified family physician, licensed to practice in

 Minnesota, Texas, and Montana. I am trained to provide the full scope of family

 medicine with a focus on reproductive health care, including abortion.

       3.     Since July 1, 2020, I have been the Medical Director of Just The Pill,

 an organization founded in April of 2020 to improve access to sexual and

 reproductive health care for patients in rural Minnesota. To my knowledge, Just the

 Pill is the only mobile health center offering abortion care in the United States.

       4.     As a part of my practice, I prescribe mifepristone (brand name

 Mifeprex®) to patients seeking medication abortion. Because of restrictions

 imposed under the Food and Drug Administration (“FDA”) Risk Evaluation and

 Mitigation Strategy (“REMS”) for mifepristone, I cannot simply write a

 prescription for mifepristone for my patients to fill at a local or mail-order

 pharmacy, as they would for any other medication.

       5.     I can and do provide all counseling and assessment for eligible

 medication abortion patients in a telehealth visit, which FDA permits. FDA also

 permits my patients to take the medication at a location of their choice. But under

 the REMS, my patients have to travel in person to pick up their medication—a trip


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                                                                                  App.025
Case 1:23-cv-03026-TOR         ECF No. 61-3     filed 03/24/23   PageID.1647 Page 29 of 131




 that, for patients in rural Minnesota, can mean hours of travel each way and time

 away from family, and jobs. The challenge of arranging for lengthy travel and time

 away is often hugely burdensome for my patients, and, for some, means a delay of

 care beyond the point at which medication abortion is available to them or denial

 of access to abortion care altogether. In addition to these burdens, during the

 COVID-19 pandemic, the mifepristone REMS has subjected my patients and their

 families to needless risk of exposure to a deadly virus as they travel to pick up their

 medication.

          6.     I submit this declaration in support of the Plaintiffs’ Motion for

 Summary Judgement in my individual capacity and not on behalf of Just The Pill

 or any other institution.


                      Limited Access to Abortion in Rural Minnesota


          7.     Minnesota’s bricks-and-mortar abortion clinics are all located in three

 urban population centers: the Twin Cities, Duluth, and Rochester. According to the

 Guttmacher Institute in 2017, 61% of Minnesota women lived in a county lacking

 an abortion clinic. 1 Indeed, nearly half of the rural counties in Minnesota have no

 sexual or reproductive health clinics at all. 2


 1
   Jones RK, Witwer E & Jerman J, Guttmacher Inst. Abortion Incidence and Service Availability
 in the United States, 2017, at 17 (2019), https://www.guttmacher.org/report/abortion-incidence-
 service-availability-us-2017.
 2
     Univ. of Minn. Healthy Youth Dev. Prevention Rsch. Ctr., 2019 Minnesota Adolescent Sexual
                                                2
                                                                                          App.026
Case 1:23-cv-03026-TOR        ECF No. 61-3      filed 03/24/23    PageID.1648 Page 30 of 131




        8.     As a result, patients who reside in rural areas often must drive 3 or 4

 hours each way to access abortion care, and sometimes longer in inclement

 weather during Minnesota’s long winters. This travel requires patients to pay and

 arrange for transportation, time away from work, and child care, all of which can

 be costly and difficult. The expenses necessitated by this travel creates particularly

 weighty burdens for patients living with low incomes, which is the case for 75% of

 abortion patients. 3 As described below, for some patients the challenges they face

 in raising funds and arranging for travel and time away results in significant delays

 in their ability to access care and can prevent them from obtaining the abortion

 they seek.


                 COVID-19 and the Expansion of Telehealth Services


        9.     Just The Pill was established in the Spring of 2020, as the SARS-

 CoV-2 virus that causes COVID-19 spread through the United States, and access to

 abortion care in Minnesota became increasingly limited because of pandemic-

 related clinic closures and drastically reduced in-person care. At that time, the

 provision of health care in the United States was changing dramatically. Federal

 and state governments urged health care providers to use telemedicine to provide


 Health Report 3 (2019), https://kstp.com/kstpImages/repository/cs/files/2019 ashr final.pdf.
 3
  Guttmacher Inst., Induced Abortion in the United States (2019),
 https://www.guttmacher.org/fact-sheet/induced-abortion-united-states#.

                                                3
                                                                                           App.027
Case 1:23-cv-03026-TOR        ECF No. 61-3    filed 03/24/23   PageID.1649 Page 31 of 131




 care whenever possible to maximize patient access to health care while minimizing

 the risk of viral transmission associated with travel to health care facilities during

 the pandemic.

          10.    At that time, I was working in a family medicine clinic, and like other

 physicians throughout the country, my practice transformed from an almost

 entirely in-person practice to one in which a broad range of primary care was

 offered by telehealth. However, because of the REMS, medication abortion

 patients were still required to travel in person to a health care facility to pick up

 their mifepristone. For patients in rural Minnesota, this meant continuing to travel

 long distances to access care. Just The Pill was created with the goal of helping

 such patients reduce the burdens and risks of travel by offering care from a mobile

 health clinic that could bring services closer to the patients.

          11.    In the summer of 2020, as Just The Pill was raising the funds to pay

 for its mobile health clinic, a federal district court in Maryland entered an

 injunction suspending the mifepristone REMS in-person requirements for the

 duration of the COVID-19 Public Health Emergency (“PHE”). 4 This meant that

 mifepristone prescribers could mail or deliver mifepristone to patients or arrange to

 have the medication sent from a mail-order pharmacy. 5 As a result, Just The Pill


 4
  Am. Coll. of Obstetricians & Gynecologists v. FDA [hereinafter “ACOG v. FDA”], 472
 F.Supp.3d 183 (D. Md. 2020).
 5
     Id.; ACOG v. FDA, Civ. No. TDA-20-1320, 2020 WL 8167535 (D. Md. Aug. 19, 2020).
                                              4
                                                                                       App.028
Case 1:23-cv-03026-TOR        ECF No. 61-3   filed 03/24/23   PageID.1650 Page 32 of 131




 pivoted from its plan to treat patients from a mobile health clinic and, in October of

 2020, began offering medication abortion care via telehealth to eligible patients

 throughout Minnesota and delivering their medication directly to them through a

 mail-order pharmacy. However, in January of this year, the U.S. Supreme Court

 issued a stay of the injunction, reinstating the mifepristone REMS in-person

 requirements. 6

          12.    From October of 2020 until the Supreme Court reinstated the

 mifepristone REMS in-person requirements, Just The Pill provided medication

 abortion by telemedicine with delivery from a mail-order pharmacy to nearly 100

 patients in Minnesota. During this period, patients would schedule a telehealth

 appointment with me, where we would discuss the patient’s medical history and

 symptoms to permit me to assess whether they were eligible for a fully remote

 medication abortion. If their medical history and symptoms were consistent with a

 fully remote medication abortion, I would provide comprehensive counseling, just

 as I would at an in-person visit. This included discussing the medication abortion

 process and the risks, benefits and alternatives to a medication abortion; reviewing

 FDA’s Patient Agreement for mifepristone; informing the patient about our 24-

 hour-a-day phone line in the event that they had any questions after the

 appointment; reading the Minnesota state-mandated information about abortion;


 6
     ACOG v. FDA, 141 S. Ct. 578 (2021).
                                             5
                                                                                 App.029
Case 1:23-cv-03026-TOR     ECF No. 61-3    filed 03/24/23   PageID.1651 Page 33 of 131




 and answering any questions they might have, ensuring that they had all the

 information they needed to make an informed decision about their care. After

 answering any additional questions, I would ask if they consented to a medication

 abortion, and if so, document that consent in their medical record. I would then

 again review the instructions for how and when to take their medication, what the

 follow-up process was, and what they should do if they experienced any of the

 (very rare) complications associated with mifepristone.

       13.    Following the telehealth visit, I would direct the mail-order pharmacy

 with which I have a contract for shipping and dispensing mifepristone to send the

 patient a package containing the medications (mifepristone, misoprostol, and, if

 requested, anti-nausea medication and ibuprofen for their comfort), written

 instructions, the mifepristone medication guide, and our 24-hour telephone

 number. We tracked shipments and confirmed delivery to patients from the mail-

 order pharmacy; the process was efficient and effective. As with the medication

 abortion itself, the medical follow-up for the vast majority of patients was also

 completed remotely, using telephone or audio-video communications and an at-

 home pregnancy test. None of the nearly 100 patients we treated through this

 process experienced a serious complication.

       14.    Being able to obtain their abortion medications from a mail-order

 pharmacy, without an unnecessary in-person trip to a health clinic, was a huge


                                           6
                                                                                 App.030
Case 1:23-cv-03026-TOR     ECF No. 61-3     filed 03/24/23   PageID.1652 Page 34 of 131




 relief for my patients. It enabled them to end their pregnancies earlier and more

 safely, without the need to travel long distances, arrange for child care, and take

 time away and lose pay from much needed jobs—and without the risk of viral

 exposure that jeopardized their health and lives and that of their families for no

 medical purpose. In a survey during part of this time in which 45 patients

 participated, 16 told us that, without the ability to have a telehealth visit and have

 their medication delivered directly to them, they would have had to delay care for

 “significantly more than 2 weeks,” and 2 already knew they would not have been

 able to access abortion care at all and would have been forced to carry their

 unwanted pregnancies to term.


             Burdens and Risk for Patients Following Supreme Court Stay


       15.     After the Supreme Court reinstated the mifepristone REMS in-person

 requirements, Just The Pill began providing care from a mobile health clinic at

 locations throughout the State to help patients access care. We did all evaluation

 and counseling with our patients via telemedicine, but we could no longer have

 their medication shipped to them; instead, they had to travel to where our mobile

 clinic was located on a given day.

       16.     We attempted to drive our mobile health clinic to locations that would

 be most helpful for our patients. These are largely places with communities facing

 the greatest barriers to traveling for care—such as communities with high
                                            7
                                                                                   App.031
Case 1:23-cv-03026-TOR     ECF No. 61-3   filed 03/24/23   PageID.1653 Page 35 of 131




 concentrations of migrant farm workers; areas with high poverty rates; and

 communities hardest hit by the COVID-19 pandemic, including those with large

 concentrations of Black, Indigenous, and people of color, and one particular

 community with a widespread outbreak of COVID-19 among workers at a meat-

 processing plant. However, we are a small operation, able to travel only a few days

 a week to a few different places in a very large state. Even with our atypical (and

 highly labor intensive) care delivery model, our patients continued to suffer

 significant burdens and risks as a result of the travel necessitated by the REMS.

       17.    For example, I recently treated a patient who lived in far northern

 Minnesota—on the Canadian border. Based on her medical history and symptoms,

 she was eligible for a fully remote medication abortion. I had conducted a

 telehealth visit with her, but, because of the REMS, she had to travel in person to

 pick up her medication. She scheduled her appointment on a day when we would

 be driving the mobile health clinic to our farthest north destination—approximately

 4 hours northwest of Minneapolis. Even so, this meant that the patient had to travel

 2 hours each way to us. She did not have a car and the only way for her to get to us

 was by cab, which cost approximately $300. When she arrived, she quickly got out

 of the cab, ran to the mobile clinic, and then immediately turned around to go

 home with her medication. Fortunately, we were able to raise private funds for this

 patient to get the care she needed. She told me that had assistance not been


                                           8
                                                                                  App.032
Case 1:23-cv-03026-TOR     ECF No. 61-3    filed 03/24/23   PageID.1654 Page 36 of 131




 available to pay for her to take a cab to our mobile clinic (or had Just The Pill’s

 mobile clinic not been available), there is no way she could have afforded to get to

 clinic and she would have had to carry her pregnancy to term. But for the REMS,

 this patient could have received her medication without ever leaving her home.

       18.    We recently treated a patient who had 3 children, no car, and would

 have had to travel 3 hours round-trip to get to the nearest bricks-and-mortar clinic

 offering abortion care. We were able to treat her by telemedicine, but she had no

 one to care for her children and was unable to arrange for transportation to pick up

 her medication even from our mobile health center. In order to help this patient, we

 drove the mobile health clinic and parked it a block from her home so that she

 could walk to our mobile clinic. This was an extremely unusual situation; we

 simply could not do that for every patient. However, if we had not done so for this

 patient, she would not have been able to have the abortion she sought. But for the

 REMS in-person requirement, we could have had the medication sent directly to

 her following her telehealth visit.

       19.    Another patient with 4 or 5 children at home was trying to arrange to

 travel to our mobile health clinic to pick up her medication. This patient lived a 5-

 hour round-trip car ride from the nearest bricks-and-mortar clinic offering abortion

 care. She had a car, but it was not reliable, even for the 1-hour drive to our mobile

 clinic. We offered financial assistance for a cab, but this patient could not take


                                            9
                                                                                  App.033
Case 1:23-cv-03026-TOR     ECF No. 61-3     filed 03/24/23   PageID.1655 Page 37 of 131




 advantage of it, because she could not fit all of her children in the cab. Her spouse

 was a long-distance truck driver who was on the road most of the time, and, since

 the patient was new to the area, she did not have anyone she could turn to for child

 care assistance. To help this patient, we were able to drive the mobile health clinic

 to her town; however, this meant a delay of more than a week before she could

 obtain care. But for the REMS, we could have had her medication delivered

 directly to her home without such delay.

       20.    I have had numerous patients who have had to cancel appointments at

 the last minute because they can’t get time off work, find child care, or forgo other

 obligations with which this travel interferes, or because their travel arrangements

 have fallen through. For some of these patients, when they tried to reschedule, we

 had to tell them that they were no longer eligible for a medication abortion because

 they were beyond 10 weeks in pregnancy. When that happens, we refer them to

 other abortion providers who offer in-clinic procedures, but, since there are so few

 abortion clinics in the state, this generally means even lengthier and more costly

 travel, and therefore more delay. Given the challenges that prevent such patients

 from accessing even our mobile clinic, I feel certain that some were never able to

 make the journey to a brick-and-mortar clinic in one of Minnesota’s urban centers

 and therefore were forced to continue their pregnancies and have a child. But for




                                            10
                                                                                  App.034
Case 1:23-cv-03026-TOR    ECF No. 61-3    filed 03/24/23   PageID.1656 Page 38 of 131




 the REMS, these patients could obtain care without delay by telemedicine and

 home delivery of medication.


                        Barriers to Prescribing Mifepristone


       21.    Even though medication abortion could be safely provided in primary

 care and other health care settings throughout the state, the REMS requires health

 care providers to register as certified prescribers with the REMS program and

 stock mifepristone onsite for in-person dispensing. I have seen how these

 requirements prevent would-be mifepristone prescribers from providing this

 essential care to their patients. I know clinicians who would have prescribed

 mifepristone but were prevented from stocking and dispensing it onsite by others at

 the facilities in which they practice. For example, the family medicine clinic where

 I did my residency training was not permitted to stock mifepristone onsite because

 of opposition from someone at the institution. If it were not for the REMS,

 however, clinicians would have been able to send in mifepristone prescriptions to a

 pharmacy, as they do for virtually all other medications. Instead, because of the

 REMS, clinicians who practiced at the clinic could not provide mifepristone to

 their patients. The mifepristone REMS creates unnecessary barriers to the

 provision of care.

       22.    Earlier this week, FDA announced that it would suspend enforcement

 of the REMS in-person requirements during the COVID-19 PHE. This is
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                                                                                 App.035
Case 1:23-cv-03026-TOR   ECF No. 61-3   filed 03/24/23   PageID.1657 Page 39 of 131




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                                                                            App.036
Case 1:23-cv-03026-TOR   ECF No. 61-3   filed 03/24/23   PageID.1658 Page 40 of 131




                         EXHIBIT 3
         Declaration of Joey Banks, M.D.




                                                                            App.037
Case 1:23-cv-03026-TOR       ECF No. 61-3   filed 03/24/23   PageID.1659 Page 41 of 131




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                 IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF HAWAIʻI


                                                  CIV. NO. 1:17-cv-00493-JAO-RT
  GRAHAM T. CHELIUS, M.D., et al.,
                                                  [CIVIL RIGHTS ACTION]
                      Plaintiffs,
                                                  DECLARATION OF JOEY
                       vs.
                                                  BANKS, M.D., IN SUPPORT OF
                                                  PLAINTIFFS’ MOTION FOR
  XAVIER BECERRA, J.D., in his
                                                  SUMMARY JUDGMENT
  official capacity as SECRETARY,
  U.S. D.H.H.S., et al.,
                                                  Judge: Hon. Jill A. Otake
                      Defendants.                 Hearing Date: Vacated per Dkt. 107
                                                  Trial Date: Vacated per Dkt. 82



                                                                                App.038
Case 1:23-cv-03026-TOR   ECF No. 61-3   filed 03/24/23   PageID.1660 Page 42 of 131




                                                                            App.039
Case 1:23-cv-03026-TOR   ECF No. 61-3   filed 03/24/23   PageID.1661 Page 43 of 131




                                                                            App.040
Case 1:23-cv-03026-TOR   ECF No. 61-3   filed 03/24/23   PageID.1662 Page 44 of 131




                                                                            App.041
Case 1:23-cv-03026-TOR   ECF No. 61-3   filed 03/24/23   PageID.1663 Page 45 of 131




                                                                            App.042
Case 1:23-cv-03026-TOR   ECF No. 61-3   filed 03/24/23   PageID.1664 Page 46 of 131




                         EXHIBIT 4
 Declaration of Jared Garrison-Jakel, M.D.




                                                                            App.043
Case 1:23-cv-03026-TOR       ECF No. 61-3   filed 03/24/23   PageID.1665 Page 47 of 131




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                 IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF HAWAIʻI

                                                  CIV. NO. 1:17-cv-00493-JAO-RT

  GRAHAM T. CHELIUS, M.D., et al.,                [CIVIL RIGHTS ACTION]
                      Plaintiffs,
                                                  DECLARATION OF JARED
                                                  GARRISON-JAKEL, M.D., IN
                       vs.
                                                  SUPPORT OF PLAINTIFFS’
                                                  MOTION FOR SUMMARY
  XAVIER BECERRA, J.D., in his
                                                  JUDGMENT
  official capacity as SECRETARY,
  U.S. D.H.H.S., et al.,
                                                  Judge: Hon. Jill A. Otake
                      Defendants.                 Hearing Date: Vacated per Dkt. 107
                                                  Trial Date: Vacated per Dkt. 82



                                                                                App.044
Case 1:23-cv-03026-TOR    ECF No. 61-3    filed 03/24/23   PageID.1666 Page 48 of 131




 Jared Garrison-Jakel, M.D., declares and states as follows:

       1.     I make this declaration based on my own personal knowledge. If

 called to testify, I could and would do so competently as follows.

       2.     I am a board-certified family medicine and addiction medicine doctor

 in Guerneville, California, and a member of the California Academy of Family

 Physicians (“CAFP”). I understand that CAFP is a plaintiff in this litigation

 challenging the U.S. Food and Drug Administration’s imposition of a Risk

 Evaluation and Mitigation Strategy (“REMS”) for Mifeprex, and write in support

 of that litigation. The Mifeprex REMS causes injury to me and my patients. But for

 the REMS, I could and would provide Mifeprex to my patients.

       3.     I received my undergraduate degree from Pomona College in 2005, a

 Master’s in Public Health from the University of California Berkeley in 2009, and

 my medical degree from the University of California Irvine School of Medicine in

 2010. I subsequently completed an internship and residency in family medicine at

 Sutter Medical Center of Santa Rosa in California.

       4.     I am trained in both medication and surgical abortion and provided

 those services while in my residency at Sutter Medical Center of Santa Rosa.

       5.     Since 2013, I have practiced at Russian River Health Center in

 Guerneville, California (“Russian River”). I submit this declaration in my

 individual capacity and— besides CAFP—not on behalf of any institution with

                                          1
                                                                                 App.045
Case 1:23-cv-03026-TOR     ECF No. 61-3     filed 03/24/23   PageID.1667 Page 49 of 131




 which I am associated, including the health center.

       6.     Russian River is a federally qualified health center (“FQHC”). FQHCs

 offer primary health care services to low-income populations in medically

 underserved areas. Guerneville, where Russian River is located, is an economically

 depressed city with virtually no other health care facilities. Our health center is

 located about 30 minutes away from any other doctor’s office.

       7.     Many of my patients have little access to transportation outside of the

 community where Russian River is located. This lack of transportation makes it

 difficult to access even urgent health care services. For example, I treated one

 patient who had a terrible cut in her hand—the laceration reached the tendon. I told

 this patient that she needed to see a hand surgeon due to the severity of the

 laceration, but the patient explained that such travel would be impossible for her.

 She told me, “Doc, either you fix it now or no one’s fixing it.”

       8.     As explained below, because of the REMS, medication abortion is not

 available in the health center where I work. As a result, I have had to turn away

 patients who need abortion care. The closest clinic that offers abortion services is a

 one-hour round-trip from our health center. Traveling such a distance is a

 significant impediment for the populations I serve, who generally struggle to afford

 and arrange for things like transportation and child care. And, making this journey

 may very well also require my patients to miss work, and therefore lose wages—

                                            2
                                                                                    App.046
Case 1:23-cv-03026-TOR      ECF No. 61-3    filed 03/24/23   PageID.1668 Page 50 of 131




 that is, if they can get time off work at all; at the low-wage jobs where my patients

 typically work, there is often no paid leave. The reality is that it can be difficult or

 impossible for my patients to overcome all of these barriers.

       9.     I am medically qualified to provide Mifeprex to my patients who

 request a medication abortion. The only reason why I am not able to do so is

 because of the requirement that I stock and dispense Mifeprex on site.

       10.    I am aware that at least one of my colleagues, who holds a position of

 authority at our institution, is opposed to abortion and would not consent to

 Mifeprex being stocked and dispensed in our health center. (For the same reason,

 we cannot provide surgical abortion services here.) However, I am also aware that

 this colleague would not interfere with my writing a prescription for Mifeprex in

 the privacy of my office for a patient to fill at a pharmacy—and there are two

 pharmacies very close to the health center where I work; one is only a block away.

 But for the REMS, I could and would provide medication abortion care to my

 patients (and would do so in compliance with all federal segregation guidelines for

 FQHCs that provide abortion services).

       11.    Because of the REMS, I have been unable to treat my patients in

 accordance with my medical judgment. Multiple patients have come to me with

 unwanted pregnancies at less than ten weeks, who requested—and were eligible

 for—medication abortions. However, because of the REMS, I had to deny them

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                                                                                    App.047
Case 1:23-cv-03026-TOR      ECF No. 61-3    filed 03/24/23   PageID.1669 Page 51 of 131




 this care—delaying their abortion, to the extent that they could obtain the abortion

 at all. Indeed, I am always reluctant to refer a patient to another health care facility,

 whether for abortion or any other medical service; given the financial challenges

 that my patients almost uniformly face, which are often compounded by other

 barriers and stressors (such as mental health disorders, substance use disorders, or

 homelessness), such a referral usually means that they will be significantly delayed

 in accessing medical care, or not obtain it at all.

       12.     There are three central concerns with delaying abortion care. First, if a

 patient is delayed past ten weeks of pregnancy, she typically will no longer be able

 to obtain a medication abortion and will instead need to have an in-office clinical

 procedure, which may be an inferior option given her circumstances. Second,

 while abortion is extremely safe, and far safer than remaining pregnant and

 carrying to term, the risk of complications increases as the pregnancy progresses. I

 can recall at least one patient who came to me at a point in pregnancy when she

 was still eligible for a medication abortion but, because I could not write her a

 prescription for Mifeprex, ended up having a more invasive and time-consuming

 second-trimester dilation and evacuation abortion procedure over a month later.

 Third, delaying a patient’s abortion means that the patient stays pregnant longer,

 and thus must incur the serious risks and discomforts associated with pregnancy

 for longer.

                                             4
                                                                                     App.048
Case 1:23-cv-03026-TOR      ECF No. 61-3     filed 03/24/23   PageID.1670 Page 52 of 131




       13.    Moreover, because of the REMS, at least one of my patients was

 prevented from having a desired abortion at all. This patient had a history of sexual

 trauma and struggled with substance use disorders. She was extremely distressed to

 learn that she was pregnant, and presented to me seeking a medication abortion. To

 add to the complications of her situation, she did not feel that she could disclose

 her desire for an abortion to her partner. I initially referred her to the nearest clinic

 providing first-trimester abortion services, but she was unable to make the journey

 to that clinic for her appointment. I saw her again in her second trimester, when she

 reiterated that she did not want to carry the pregnancy to term. At that point, I

 referred her to the nearest provider of second-trimester abortions, which is

 approximately three hours round-trip from Guerneville. I know that the care team

 at that facility worked diligently to support her in accessing abortion care,

 including trying to arrange transportation for her. Nevertheless, because of the

 many challenges in her life, she missed multiple appointments there as well. This

 patient ultimately ended up carrying the pregnancy to term. I have grave concerns

 about how this unintended pregnancy has affected her life; when I’d seen her, she

 communicated that the pregnancy had worsened her suffering around her sexual

 trauma history and medication dependency. Moreover, this patient did not obtain

 adequate prenatal care during her first or second trimesters because this was not a

 pregnancy she had intended to carry to term. Needless to say, denying this patient

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                                                                                     App.049
Case 1:23-cv-03026-TOR     ECF No. 61-3    filed 03/24/23   PageID.1671 Page 53 of 131




 the care she so desperately wanted and needed was not in accordance with my best

 medical judgment.

       14.    In short, the Mifeprex REMS has prevented me from fulfilling my

 personal, professional, and ethical obligations to provide my patients with the

 medical care they need, which I am qualified to and would otherwise provide.

       15.    I am aware that the FDA just announced that, for the remainder of the

 COVID-19 Public Health Emergency, it is suspending enforcement of the

 requirement that patients obtain Mifeprex in person at a health center and instead

 allowing patients to obtain their medication by mail or from a mail-order pharmacy

 acting under the supervision of a certified REMS prescriber. Although this is an

 important step in the right direction, even under this short-term policy, the FDA

 continues to treat Mifeprex differently than any other drug I prescribe. I am

 working to understand what this “supervision” requirement entails (such as with

 regard to billing) and determine whether or not I will be able to take advantage of

 this temporary policy shift. Regardless, a permanent fix is essential to ensure that

 my patients can access medication abortion care without facing needless, and

 sometimes insurmountable, hurdles.




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                                                                                   App.050
Case 1:23-cv-03026-TOR    ECF No. 61-3    filed 03/24/23   PageID.1672 Page 54 of 131




      I declare under penalty of perjury that the foregoing is true and correct and

that this declaration was executed on �\ \L-\-�             , 2021, in Guemeville,

California.




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                                                                                App.051
Case 1:23-cv-03026-TOR   ECF No. 61-3   filed 03/24/23   PageID.1673 Page 55 of 131




                         EXHIBIT 5
          Declaration of Erin King, M.D.




                                                                            App.052
Case 1:23-cv-03026-TOR       ECF No. 61-3   filed 03/24/23   PageID.1674 Page 56 of 131




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                 IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF HAWAIʻI


                                                  CIV. NO. 1:17-cv-00493-JAO-RT
  GRAHAM T. CHELIUS, M.D., et al.,
                                                  [CIVIL RIGHTS ACTION]
                      Plaintiffs,
                                                  DECLARATION OF ERIN KING,
                       vs.
                                                  M.D., IN SUPPORT OF
                                                  PLAINTIFFS’ MOTION FOR
  XAVIER BECERRA, J.D., in his
                                                  SUMMARY JUDGMENT
  official capacity as SECRETARY,
  U.S. D.H.H.S., et al.,
                                                  Judge: Hon. Jill A. Otake
                      Defendants.                 Hearing Date: Vacated per Dkt. 107
                                                  Trial Date: Vacated per Dkt. 82



                                                                                App.053
Case 1:23-cv-03026-TOR     ECF No. 61-3    filed 03/24/23   PageID.1675 Page 57 of 131




 Erin King, M.D. declares and states as follows:

         1.   I make this declaration based on my own personal knowledge. If

 called to testify, I could and would do so competently as follows.

         2.   I am a board-certified Obstetrician Gynecologist (“Ob-Gyn”) licensed

 to practice in Illinois and Missouri. I treat patients principally at a general Ob-Gyn

 practice in St. Louis, Missouri, and at the Hope Clinic for Women (“Hope Clinic”)

 in Granite City, Illinois, where I also serve as the Executive Director. I provide

 patients with the full scope of obstetric and gynecological care, including abortion

 care.

         3.   I am a member of the American College of Obstetricians and

 Gynecologists, the National Abortion Federation, and the Society of Family

 Planning (“SFP”). I understand that SFP is a plaintiff in this litigation challenging

 the Risk Evaluation and Mitigation Strategy (“REMS”) that the Food and Drug

 Administration (“FDA”) imposes for mifepristone (brand name Mifeprex®). I

 write this declaration in support of Plaintiffs’ Motion for Summary Judgment, on

 my own behalf, and not on behalf of Hope Clinic or any other institution.

         4.   I am a certified prescriber under FDA’s mifepristone REMS. I

 prescribe mifepristone as part of a medication abortion regimen and for patients

 seeking medical management of miscarriage. I also provide training in medication

 abortion and other abortion and reproductive health care.

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                                                                                  App.054
Case 1:23-cv-03026-TOR     ECF No. 61-3    filed 03/24/23   PageID.1676 Page 58 of 131




       5.     I am aware of clinicians who would prescribe mifepristone for

 medication abortion and miscarriage care for their patients if they could send in a

 prescription to a local or mail-order pharmacy as they do with nearly all other

 medication. However, the mifepristone REMS—which requires clinicians to

 register as certified prescribers and to stock and dispense mifepristone in their

 offices—has prevented them from using mifepristone in their patient care.

 Physicians I have trained have often told me that they are unable to find

 employment with practices that are willing to stock mifepristone and, as a result,

 were not able to provide medication abortion or miscarriage care using

 mifepristone to their patients, though they would have been able to provide this

 care if they could simply write a prescription.

       6.     The mifepristone REMS also imposes significant burdens on my

 patients. Because of the REMS, my patients whom I can evaluate and counsel via

 telemedicine have had to travel unnecessarily to my clinic for their medication.

 They have had to find and pay for transportation and child care and take time away

 from jobs that pay by the hour or day. This is particularly burdensome for my

 many patients who live with low incomes and have to travel long distances, from

 rural parts of southern Illinois, to get to my clinic. In addition, during the COVID-

 19 pandemic, the REMS has put them and their families at needless risk for

 contracting a deadly virus as they travel in person to pick up medication that they

                                           2
                                                                                     App.055
Case 1:23-cv-03026-TOR      ECF No. 61-3     filed 03/24/23   PageID.1677 Page 59 of 131




 could otherwise safely receive by mail at home.

       7.     Last year, a federal district court in Maryland issued an injunction

 suspending the mifepristone REMS in-person requirements for medication

 abortion for the duration of the COVID-19 federal Public Health Emergency

 (“PHE”). 1 The injunction permitted me to contract with a mail-order pharmacy to

 ship mifepristone to my eligible patients. That meant that, for my medication

 abortion patients who did not require in-person assessment, I could provide all

 counseling and assessment in a telehealth visit and then have the medication

 delivered directly to them from the mail-order pharmacy.

       8.     On the day we began offering patients the option to receive their

 prescription through the mail-order pharmacy, I treated a patient who had had an

 appointment to come to the clinic for a medication abortion but had had to cancel

 because she could not get time away from work and could not find anyone to stay

 with her children. She told me that she would have had to forgo an abortion

 altogether if we had not been able to offer her a telemedicine visit and delivery of

 her medication, because she did not think she would ever be able to make the

 arrangements necessary to get to the clinic in person. But, because the REMS in-

 person requirements were enjoined, she was able to have a safe abortion from the


 1
  Am. Coll. of Obstetricians & Gynecologists v. FDA [hereinafter “ACOG v. FDA”], 472
 F.Supp.3d 183 (D.Md. 2020); ACOG v. FDA, Civ. No. TDA-20-1320, 2020 WL 8167535
 (D.Md., Aug. 19, 2020).
                                             3
                                                                                       App.056
Case 1:23-cv-03026-TOR        ECF No. 61-3   filed 03/24/23   PageID.1678 Page 60 of 131




 safety and privacy of her own home.

          9.     Unfortunately, however, the U.S. Supreme Court entered a stay of the

 injunction, reinstating the in-person requirements. 2 As a result, for the past three

 months I have again been forced to require patients seeking medication abortion

 care to travel to the clinic to pick up their medication.

          10.    This requirement imposes substantial burdens on my patients. Since

 the Supreme Court reinstated the REMS in-person requirements, I have seen

 numerous patients who needed no in-person assessment but nevertheless had to

 travel multiple hours, each way, to come to my clinic to pick up their medication.

 These patients have had to bear the costs and burdens of arranging travel, time

 away from work, and child care, when they could just as safely have obtained their

 prescription by mail and avoided all of these burdens.

          11.    Needing to make these arrangements and raise funds for this travel

 has often delayed my patients’ care—sometimes beyond the point when they can

 have a medication abortion. I recently saw a patient who wanted a medication

 abortion but was 13 weeks pregnant and therefore had to have an in-clinic

 procedure. She was very upset, explaining that she had rescheduled her

 appointment numerous times because she could not arrange for travel or find

 someone to take care of her children—and during the pandemic, she could not


 2
     ACOG v. FDA, 141 S. Ct. 578 (2021).
                                             4
                                                                                   App.057
Case 1:23-cv-03026-TOR      ECF No. 61-3     filed 03/24/23   PageID.1679 Page 61 of 131




 bring her children with her to our clinic, because we do not allow anyone other

 than the patient to enter in order to mitigate viral spread. But for the mifepristone

 REMS, I could have treated this patient in a telemedicine visit and had her

 medication delivered to her at home while she was still eligible for a medication

 abortion. This patient is not alone; I see patients every week with one variation or

 another of this story.

       12.    I am able to provide care entirely by telehealth for a wide array of

 other medical needs. For instance, I regularly use telehealth to diagnose, treat, and

 counsel patients regarding urinary tract infections, vaginitis, rashes, and

 contraception needs. In my practice, we also conduct prenatal and post-partum

 visits remotely. We can even examine a patient’s sutures and evaluate how well the

 patient is healing after surgery in a telehealth visit. I can just as safely and

 effectively evaluate and comprehensively counsel eligible medication abortion

 patients in a telehealth visit. However, because of the REMS, my patients who

 require mifepristone have had to suffer needless burdens and risks that my patients

 who can obtain care entirely by telehealth are able to avoid.

       13.    Earlier this week, FDA announced that it would suspend enforcement

 of the REMS in-person requirements during the COVID-19 PHE. I am very

 pleased that my patients receiving care by telehealth can now have their

 medication delivered directly to them from a mail-order pharmacy without the

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                                                                                    App.058
Case 1:23-cv-03026-TOR   ECF No. 61-3   filed 03/24/23   PageID.1680 Page 62 of 131




                                                                             App.059
Case 1:23-cv-03026-TOR   ECF No. 61-3   filed 03/24/23   PageID.1681 Page 63 of 131




                         EXHIBIT 6
                  Declaration of
         Charisse M. Loder, M.D., M.SC.




                                                                            App.060
Case 1:23-cv-03026-TOR       ECF No. 61-3   filed 03/24/23   PageID.1682 Page 64 of 131




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                 IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF HAWAIʻI


                                                  CIV. NO. 1:17-cv-00493-JAO-RT
  GRAHAM T. CHELIUS, M.D., et al.,
                                                  [CIVIL RIGHTS ACTION]
                      Plaintiffs,
                                                  DECLARATION OF CHARISSE
                                                  M. LODER, M.D., M.SC., IN
                       vs.
                                                  SUPPORT OF PLAINTIFFS’
                                                  MOTION FOR SUMMARY
  XAVIER BECERRA, J.D., in his
                                                  JUDGMENT
  official capacity as SECRETARY,
  U.S. D.H.H.S., et al.,
                                                  Judge: Hon. Jill A. Otake
                      Defendants.                 Hearing Date: Vacated per Dkt. 107
                                                  Trial Date: Vacated per Dkt. 82



                                                                                App.061
Case 1:23-cv-03026-TOR      ECF No. 61-3   filed 03/24/23   PageID.1683 Page 65 of 131




 Charisse M. Loder, M.D., M.Sc., declares and states as follows:

       1.     I make this declaration based on my own personal knowledge. If

 called to testify, I could and would do so competently as follows.

       2.     I am an obstetrician-gynecologist trained in abortion care and a

 member of the Society of Family Planning (“SFP”). I am a Clinical Assistant

 Professor of Obstetrics and Gynecology at the University of Michigan Medical

 School. My practice is located at the Women’s Clinic at Von Voigtlander

 Women’s Hospital in Ann Arbor, Michigan. I have also practiced as an

 obstetrician-gynecologist at Planned Parenthood in Ann Arbor.

       3.     I received my undergraduate degree from Cornell University in 2003,

 and my medical degree from Pennsylvania State University in 2011. I did my

 residency in Obstetrics and Gynecology at the University of Rochester, where I

 served as Chief Resident, and then completed a fellowship in Family Planning and

 received a Master of Science degree in Health and Health Care Research at the

 University of Michigan.

       4.     In my current practice, I provide a range of obstetrics and gynecology

 care, and specialize in miscarriage management, complex contraception and

 sterilization, and abortion care.




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                                                                                 App.062
Case 1:23-cv-03026-TOR     ECF No. 61-3    filed 03/24/23   PageID.1684 Page 66 of 131




       5.     I submit this declaration in support of Plaintiffs’ Motion for Summary

 Judgment. I do so only in my individual capacity and as a member of SFP, not on

 behalf of any institution with which I am affiliated.

       6.     Mifeprex is an important drug for the provision of abortion and

 miscarriage care. I advocated to make this medication available within the

 Women’s Clinic in order to offer our patients the best possible care at our own

 institution, without having to refer them elsewhere.

       7.     While I am currently able to prescribe mifepristone to my patients,

 attempting to bring the Women’s Clinic at the University of Michigan into

 compliance with the mifepristone (brand name Mifeprex®) Risk Evaluation and

 Mitigation Strategy (“REMS”) was an extremely complicated process that took

 five years (and a substantial investment of time, resources, and professional capital

 by me and other colleagues). During these five years, my colleagues and I were

 forced to refer patients who needed medication abortion care to other institutions.

 When patients are referred elsewhere for abortion care, many experience delays or

 are even prevented from accessing this time-sensitive care. We were also unable to

 offer Mifeprex for miscarriage and second-trimester abortion care, even though

 Mifeprex enhances the efficacy of those treatments. There is absolutely no medical

 reason for FDA to impose these barriers to patients obtaining this safe and

 effective medication.

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                                                                                 App.063
Case 1:23-cv-03026-TOR     ECF No. 61-3    filed 03/24/23   PageID.1685 Page 67 of 131




       8.     My involvement in the process of trying to make Mifeprex available

 at the University of Michigan began when I arrived at the University six years ago,

 in 2015. But conversations surrounding Mifeprex at the University of Michigan

 began seven years ago, in 2014. As of 2014, the only patients who could access

 mifepristone through the University of Michigan were those seeking treatment for

 Cushing’s syndrome: University clinicians were able to prescribe mifepristone

 under the brand name Korlym, and the patients filled those prescriptions through a

 mail-order pharmacy. However, patients in need of mifepristone under the brand

 name Mifeprex, for reproductive health care, could not access the medication

 through any University provider.

       9.     As a first step, I had to get approval to add Mifeprex to the

 University’s drug formulary from the University’s Pharmacy and Therapeutics

 Committee (“the Committee”), which is composed of pharmacists and physicians

 from a variety of clinical specialties. As discussed above, I was not the first

 physician to attempt to do so; in 2014, other physicians had participated in multiple

 meetings with the Committee during which they advocated for adding Mifeprex to

 the formulary. Ultimately, these conversations stalled because those physicians

 were unable to invest the immense amounts of time required to move this process

 forward.




                                            4
                                                                                   App.064
Case 1:23-cv-03026-TOR      ECF No. 61-3   filed 03/24/23   PageID.1686 Page 68 of 131




       10.    Between 2015 and 2016, I participated in approximately four

 Committee meetings relating to Mifeprex. To assist in the Committee’s evaluation

 of Mifeprex, the Committee asked me and my colleagues to provide literature on

 Mifeprex’s safety and indications for use, which we did. These meetings were each

 about an hour long, and I individually spent at least 20 additional hours researching

 and preparing presentations about Mifeprex’s safety and efficacy, as well as

 writing guidelines for its use.

       11.    Finally, in 2016, the Committee approved Mifeprex for the University

 formulary. None of this would have been necessary—the Committee would not

 have been involved at all—if we could simply issue our patients a prescription to

 fill at a pharmacy instead of having to stock and dispense Mifeprex onsite.

       12.    But getting Mifeprex on our hospital’s formulary still did not mean

 that University of Michigan clinicians could start prescribing Mifeprex to patients.

 Placing a drug “on formulary” means that the drug is approved for safe use by the

 hospital. But, in order to make Mifeprex available “in clinic” for patients, the

 University of Michigan first had to order and stock this medication. And it took me

 three more years of advocacy to achieve this second step.

       13.     In 2018, a pharmacist in the gynecology department suggested that I

 form a task force to develop protocols for Mifeprex use in-clinic because the

 process had stalled out. I believe that my colleague suggested that I create such a

                                           5
                                                                                    App.065
Case 1:23-cv-03026-TOR     ECF No. 61-3     filed 03/24/23   PageID.1687 Page 69 of 131




 task force in order to alleviate concerns throughout the University about how to

 comply with the Mifeprex REMS and to accelerate the process of actually stocking

 and dispensing Mifeprex. I have never heard of such a task force being formed for

 the introduction of other drugs or devices into University practice. For example,

 we frequently integrate new intrauterine contraceptive devices (IUDs) into our

 practice, and have never had to develop protocols about how to prescribe them. But

 I believed that without a physician champion and a committee specifically focused

 on this issue, Mifeprex would never be made available in our clinic.

       14.     Accordingly, I organized and created a multidisciplinary task force to

 develop various protocols for ordering, stocking, prescribing, and dispensing

 Mifeprex at the Women’s Clinic. This task force is made up of gynecology and

 family medicine physicians, nurses, clinic managers, pharmacists, and electronic

 medical record (EMR) specialists. The task force was charged with finalizing

 protocols to address how Mifeprex is ordered, administered, and stored, as well as

 addressing safety and reimbursement concerns surrounding the storage and

 dispensing of Mifeprex at our clinic. In a large health care institution like ours,

 where every organizational decision requires approval from multiple stakeholders,

 none of these decisions were simple.

       15.     I first convened this task force in October 2018, and the task force

 met every six weeks until Mifeprex was available in clinic. The task force met for

                                            6
                                                                                   App.066
Case 1:23-cv-03026-TOR     ECF No. 61-3     filed 03/24/23   PageID.1688 Page 70 of 131




 about an hour each time—and that is only the tip of the iceberg. Since October

 2018, I have spent at least 80 hours of my time preparing for and/or completing

 follow-up work relating to task force meetings (such as preparing education

 materials for clinical staff), as well as participating in numerous non-task force

 meetings with stakeholders to discuss protocols to ensure compliance with the

 REMS as we integrate Mifeprex into clinical practice. For instance, I met with

 EMR representatives to propose edits to our electronic medical records in order to

 track Mifeprex administration in patient records. I attended separate meetings with

 the Women’s Clinic manager, insurance verification team, and billing team related

 to the University’s financial and reimbursement concerns around the dispensing of

 Mifeprex onsite. And I consulted on strategies to communicate guidelines for

 Mifeprex administration with staff, including developing REMS-compliant

 protocols for nurses who may want to “opt-out” of any involvement in the

 dispensing of Mifeprex. If not for the REMS, I would not have had to involve all

 of these other clinicians and stakeholders within the University and invest so many

 hours of my time and professional resources into developing system-wide

 protocols to integrate Mifeprex into hospital practice. I would simply have written

 my patients a prescription.

       16.     The Mifeprex REMS also requires that clinicians register with the

 drug’s distributor in order to become a certified prescriber. As an initial matter, this

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Case 1:23-cv-03026-TOR     ECF No. 61-3    filed 03/24/23   PageID.1689 Page 71 of 131




 requirement is medically unnecessary: Mifeprex is a safe and straightforward

 medication; the clinical competencies necessary to safely prescribe it are very

 common; and in general, and as a legal and ethical matter, my colleagues and I do

 not prescribe any treatment unless it is within our competency to do so. But the

 prescriber certification requirement also posed numerous obstacles to the provision

 of Mifeprex at the University of Michigan.

         17.   First, task force members raised concerns that the University would

 face legal liability if clinicians who were not acting pursuant to a REMS prescriber

 agreement prescribed this drug. We spent many meetings discussing protocols to

 prevent violations of the REMS.

         18.   Second, members of the task force were concerned about how to store

 Mifeprex to ensure that only certified prescribers can access it. As a result, the task

 force spent numerous meetings discussing how to properly secure the Mifeprex

 stock with locks, and how to determine which clinicians have access to the locked

 area.

         19.   Third, because of the prescriber certification requirement, the

 University of Michigan must update its EMR system and pharmacy database each

 time a physician registers as a certified provider. These updates are costly and

 require staff time. These systems must be updated constantly to alleviate a concern

 that someone will prescribe Mifeprex in violation of the REMS.

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                                                                                    App.068
Case 1:23-cv-03026-TOR     ECF No. 61-3     filed 03/24/23   PageID.1690 Page 72 of 131




       20.    These organizational concerns related to prescriber certification stem

 not from any mistrust of physicians, but from concerns about compliance with the

 REMS.

       21.    I would never have been able to provide mifepristone to my patients if

 it were not for the tenacious advocacy and time commitment my colleagues and I

 invested into this effort. As it was, for more than five years, the REMS prevented

 me and all of my colleagues from providing that care to our patients and

 necessitated that we refer patients outside of the University of Michigan system. I

 know that many of my colleagues have had the same experience, because over the

 years, I have frequently been contacted by colleagues inquiring whether they were

 permitted to prescribe Mifeprex to their patients, and I had to tell them that—

 because of the REMS—the answer was no.

       22.    And my situation at the University of Michigan is by no means

 unique. I am regularly contacted by clinicians at other academic medical centers

 who are seeking advice on how to navigate the REMS in order to stock and

 dispense Mifeprex at their institutions.

       23.    Clinicians outside the University of Michigan have also shared with

 me that they have not integrated Mifeprex into their practice because they fear that

 completing the REMS prescriber certification requirement would place them on a

 registry of abortion providers and thus make them targets of anti-abortion

                                            9
                                                                                   App.069
Case 1:23-cv-03026-TOR     ECF No. 61-3    filed 03/24/23   PageID.1691 Page 73 of 131




 harassment or violence. If clinicians could simply write a prescription for Mifeprex

 without this obstacle and the other obstacles the REMS imposes, I believe that

 many more clinicians, in a wider swath of our state, would do so.

       24.    While abortion care is extremely safe, the risks associated with

 abortion increase as pregnancy advances. Therefore, delaying a patient’s abortion

 care increases the risks she faces.

       25.    This delay also pushes patients past the point at which a medication

 abortion, or any abortion care, is available to them at all. When I worked at

 Planned Parenthood, I often saw patients who had been referred there by their

 primary provider because their provider does not provide medication abortion care.

 But, because of the delay caused by this referral, by the time these patients got to

 Planned Parenthood, they were frequently too far along in their pregnancies to be

 eligible for a medication abortion—even though they preferred that option and that

 option would have been most clinically suitable for them. Because of this delay,

 these patients were only eligible for aspiration or dilation and evacuation (“D&E”)

 abortion, in-clinic procedures that are significantly more expensive than

 medication abortion. And some of these patients could not afford these more

 expensive in-clinic procedures and ultimately were unable to get an abortion at all.

       26.     My patients at Planned Parenthood frequently told me about the

 burdens they faced traveling to us for care: paying for transportation, arranging

                                           10
                                                                                  App.070
Case 1:23-cv-03026-TOR     ECF No. 61-3     filed 03/24/23   PageID.1692 Page 74 of 131




 child care, taking time (often unpaid) off from work, and more. Some of these

 patients traveled great distances: there are very few abortion providers in Northern

 Michigan or in Michigan’s Upper Peninsula, and many of our patients traveled

 more than one and a half hours, and up to 10 hours, to obtain abortion care. Many

 of these patients shared that they could not access abortion care in their local

 community.

       27.    In addition to being an important part of safe, effective early abortion

 care, Mifeprex has other clinical indications, such as in medical management of

 pregnancy loss (miscarriage) and labor induction abortions during the second

 trimester. In both of these clinical circumstances, pretreatment with mifepristone

 reduces the length of the treatment and, as a result, reduces the risk of

 complications.

       28.    At the University of Michigan, my colleagues and I care for patients

 undergoing second-trimester labor induction in cases of pregnancy loss, or where

 the patient seeks abortion because of a diagnosis of fetal anomalies or due to

 significant risk to maternal health or life. During this process the patient

 experiences all the pain and physical consequences of labor. Clinicians often

 prescribe Mifeprex to patients going through this process, in order to make it easier

 and faster. When clinicians are unable to add Mifeprex to their treatment regimen,




                                           11
                                                                                    App.071
Case 1:23-cv-03026-TOR        ECF No. 61-3   filed 03/24/23   PageID.1693 Page 75 of 131




 many patients and their families suffer both emotional and physical tolls from

 longer labor inductions.

       29.    After five years of advocacy and hundreds of hours of advocacy by a

 few dedicated clinicians and stakeholders, Mifeprex finally became available

 onsite at the University of Michigan in late September 2019. But even now, the

 work continues: although Mifeprex is available at the Von Voigtlander Women’s

 Hospital (where the Women’s Clinic is located), I am still expending hours of

 effort to work to make Mifeprex available at our six OB/GYN outpatient sites,

 where clinicians continue to struggle to develop systems to stock and store

 Mifeprex consistent with the REMS. As a result, patients in those communities

 must travel longer distances (up to 40 miles round-trip) to get to our hospital for

 care, rather than being able to obtain a prescription for Mifeprex at their local

 outpatient site to then fill through a retail or mail-order pharmacy.

       30.    The Mifeprex REMS made this process extremely burdensome,

 requiring both an institutional champion (myself) willing to expend more than 80

 hours of work and significant professional capital, and more institutional resources

 than I have seen for any other medication that has ever been made available in

 clinic at the University of Michigan. The five-year delay in Mifeprex’s availability

 in clinic harmed patients.




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                                                                                     App.072
Case 1:23-cv-03026-TOR   ECF No. 61-3   filed 03/24/23   PageID.1694 Page 76 of 131




                                                                            App.073
Case 1:23-cv-03026-TOR   ECF No. 61-3   filed 03/24/23   PageID.1695 Page 77 of 131




                         EXHIBIT 7
           Declaration of Jane Roe, M.D.




                                                                            App.074
Case 1:23-cv-03026-TOR       ECF No. 61-3   filed 03/24/23   PageID.1696 Page 78 of 131




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                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF HAWAII


                                                  CIV. NO. 1:17-cv-00493-JAO-RT
  GRAHAM T. CHELIUS, M.D., et al.,
                                                  [CIVIL RIGHTS ACTION]
                      Plaintiffs,
                                                  DECLARATION OF
                       vs.
                                                            , M.D., IN SUPPORT
                                                  OF PLAINTIFFS’ MOTION FOR
  XAVIER BECERRA, J.D., in his
                                                  SUMMARY JUDGMENT
  official capacity as SECRETARY,
  U.S. D.H.H.S., et al.,
                                                  Judge: Hon. Jill A. Otake
                      Defendants.                 Hearing Date: Vacated per Dkt. 107
                                                  Trial Date: Vacated per Dkt. 82



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Case 1:23-cv-03026-TOR     ECF No. 61-3    filed 03/24/23   PageID.1697 Page 79 of 131




                   , M.D., a/k/a/ Jane Roe, M.D., declares and states as follows:

        1.     I make this declaration based on my own personal knowledge. If

 called to testify, I could and would do so competently as follows.

        2.     I am a Family Medicine doctor trained in abortion care. I live and

 practice in a rural area in the western United States, approximately 100 miles away

 from the nearest abortion clinic. I am seeking to proceed pseudonymously out of

 fear of being exposed—nationally and in my small, rural town—as an abortion

 provider. In light of the extreme harassment and violence, including murder, that

 has been perpetrated against abortion providers in the United States, I attempt to

 keep my provision of abortion care as private as possible; I am painfully aware that

 my primary practice does not have the safeguards in place that exist at the abortion

 clinics (several hours away) where I work part-time—bulletproof glass, violent

 intruder protocols, alarm button, separate entrance for providers, and so on.

 Moreover, given the significant abortion stigma in my community, I expect that I

 would lose many of my non-abortion patients at my primary practice if the fact of

 my abortion provision were widely known.

        3.     I am a member of Plaintiff Society of Family Planning, and I submit

 this declaration in support of Plaintiffs’ Motion for Summary Judgment. I do so

 only in my individual capacity and not on behalf of any institution with which I am

 affiliated.

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                                                                                 App.076
Case 1:23-cv-03026-TOR     ECF No. 61-3   filed 03/24/23   PageID.1698 Page 80 of 131




       4.     Attempting to comply with the Mifeprex REMS has been time-

 consuming, stressful, and professionally compromising. Because of the REMS, my

 ability to care for my patients in accordance with their needs and with my medical

 judgment has been conditioned on my seeking (and gaining) approval and

 assistance from countless individuals and committees within my health care

 institution. If not for the REMS, I could have simply written a prescription for

 Mifeprex for my patients to fill at a local or mail-order pharmacy, rather than

 having to mount a workplace lobbying campaign, and jeopardize my professional

 standing, in order to provide this safe medication onsite to my patients who need it.

       5.     I am a full-spectrum Family Medicine physician. In addition to my

 three years of residency, I completed a Family Medicine fellowship in obstetrics. I

 often care for three or four generations within a family—delivering a baby one day

 and caring for her grandmother the next. I perform a range of obstetric and

 gynecological services, such as cesarean sections, tubal ligations, leeps (which

 entails removing pre-cancerous lesions from the cervix), endometrial biopsies, and

 insertion and removal of intrauterine contraceptive devices.

       6.     I also provide miscarriage management, including by prescribing

 medications to evacuate the contents of a patient’s uterus. When using medications

 to manage a miscarriage, it is the standard of care to use both Mifeprex and

 misoprostol, the same two drugs used in the FDA-approved medication abortion

                                           2
                                                                                    App.077
Case 1:23-cv-03026-TOR     ECF No. 61-3    filed 03/24/23   PageID.1699 Page 81 of 131




 regimen. Thus, as discussed further below, the restrictions on Mifeprex impact my

 ability to provide both abortion and miscarriage care.

       7.     I work at a hospital and affiliated clinic within a large health care

 system that includes multiple hospitals, each of which has one or more affiliated

 clinics. Many of my patients are low-income; virtually all are rural; and many

 travel to us from medically underserved areas in our state. Indeed, some of my

 patients live in areas where there are no roads—only snowmobile access in the

 winters.

       8.     Over the years, my colleagues and I have had multiple patients ask if

 we could provide a medication abortion, but—because we could not write them a

 prescription for Mifeprex to fill at a pharmacy—we had to refer all of these

 patients elsewhere for care. The nearest abortion clinic is a 200-mile round-trip,

 and some of these patients never made the journey, instead returning later for

 prenatal care. I recall one adolescent patient who told my colleague that she had

 repeatedly scheduled appointments at the abortion clinic, only to have to cancel

 multiple times because she simply could not make it there.

       9.     So, in February 2017, along with a few colleagues, I began the

 process of trying to get Mifeprex added to our hospital’s formulary. The formulary

 is the list of medications approved for use by the pharmacy committees for our

 hospital and for our health care system, and then made available at our hospital for

                                           3
                                                                                      App.078
Case 1:23-cv-03026-TOR      ECF No. 61-3   filed 03/24/23   PageID.1700 Page 82 of 131




 dispensing or administering to patients. Based on conversations I had with

 colleagues about attitudes towards abortion at our institution, I concluded that there

 was a greater likelihood of my gaining approval to add Mifeprex to our formulary

 and dispense it in my office, rather than gaining approval to perform surgical

 abortion services in our operating room. That is because the latter would require

 the involvement of many clinicians, including nursing staff, certified scrub

 technicians, and anesthesia providers, and would thus require (at a minimum)

 approval from the CEO of the hospital and the departments overseeing each of

 those categories of clinicians, as well as the development of opt-out procedures for

 the supporting clinical staff.

       10.    Attempting to add Mifeprex to our formulary was a major

 undertaking. First, we had to obtain approval from the pharmacy committee at our

 hospital. Once that committee agreed to move forward with the process, we could

 elevate the request to the pharmacy committee for the entire health care system.

       11.    Over the next six months, we were delayed time and again in trying to

 get a decision from that system-level pharmacy committee—including being

 advised by a representative of the committee to delay raising the issue of Mifeprex

 until our request could undergo further “informal vetting,” and then being bumped

 from the agenda for the committee’s once-a-month meeting at least three times. In

 addition, the pharmacy committee representative insisted that we complete the

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                                                                                  App.079
Case 1:23-cv-03026-TOR     ECF No. 61-3   filed 03/24/23   PageID.1701 Page 83 of 131




 “new drug review” analysis for Mifeprex—a time-consuming assignment that, to

 my knowledge, is always completed by the system-level pharmacy committee, not

 by the hospital-level pharmacy committee or the individual physicians or

 pharmacists making the request. I believe this was demanded of us only because of

 the controversy and stigma surrounding abortion in our community, as in many

 places in this country.

       12.    Throughout the six months that we were slogging through this

 process—which would not have been necessary if not for the REMS—I was forced

 to turn away patients who needed my care. I know with certainty that, as a result, at

 least one of my patients was delayed past the point in pregnancy when she could

 obtain a medication abortion at all—which is available only up to 10 weeks of

 pregnancy—and had to travel 200 miles round-trip to have a surgical abortion

 instead. While abortion is one of the safest procedures in modern American

 medicine, and far safer for a woman than remaining pregnant and carrying to term,

 the risks associated with abortion increase as pregnancy advances. Thus, delaying a

 woman’s abortion care increases the risks she faces.

       13.    It is inconsistent with both my medical judgment and my deeply held

 values to deny a patient’s urgent request for time-sensitive medical care that I am

 qualified to provide—but that is exactly what the REMS required of me.

       14.    In September 2017, I was contacted by the Chief Medical Officer of

                                           5
                                                                                 App.080
Case 1:23-cv-03026-TOR    ECF No. 61-3    filed 03/24/23   PageID.1702 Page 84 of 131




 our health care system, who had apparently been informed of my request. To my

 knowledge, it is very unusual for the CMO to be involved in a formulary request,

 and I assume that my request was only elevated to this very high level because of

 the controversy surrounding abortion. He proposed a possible strategy to enable

 me to provide Mifeprex to my patients while avoiding the conflict that he expected

 would result from a system-wide debate on this question: namely, that I would

 prescribe and dispense Mifeprex as a “non-formulary drug,” which the policy

 defines as “[a]n agent, which has not been reviewed by the [pharmacy committee]

 or has been reviewed and denied admission to the formulary.”

       15.    This was a highly unusual application of our policy on non-formulary

 drugs, which to my knowledge is typically invoked in situations where patients

 admitted to our hospital need to continue a pre-established medication regimen for

 the short period of time that they are admitted. The policy on non-formulary drugs

 also expressly provides that usage of such medications will be “tracked and

 routinely reviewed . . . to evaluate appropriateness” by the system-level pharmacy

 committee—the very same committee that this strategy was designed to avoid,

 given the expectation of conflict over the abortion issue. Classifying Mifeprex as a

 non-formulary drug to be “tracked and routinely reviewed” meant that I had to

 continue to expend time, and put my professional reputation on the line, having

 discussions with leadership at my institution regarding my Mifeprex use. And, of

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                                                                                App.081
Case 1:23-cv-03026-TOR     ECF No. 61-3    filed 03/24/23   PageID.1703 Page 85 of 131




 course, this designation meant that I could suddenly lose the ability to provide this

 care to my patients.

       16.    After gaining this temporary, precarious approval to stock and

 dispense Mifeprex on-site as a non-formulary drug, I next had to sign up with

 Danco (the manufacturer of Mifeprex) as a certified prescriber and set up an

 account with the drug distribution company. This was a significant ordeal in and of

 itself, further delaying my ability to care for my patients by approximately two

 months. I completed as much of the paperwork myself as I could, but setting up an

 account requires information (including on billing and shipping) that, as a doctor

 within a large health care institution, I do not have. This meant that I had to

 involve yet another colleague in the process—my Practice Administrator, who

 oversees finances, staffing, and other significant matters in our practice—and then

 repeatedly bother that person, who I know to be personally opposed to abortion,

 until it got done. If not for the REMS, I would not have had to compromise this

 important professional relationship in this manner.

       17.    I believe that the REMS has harmed my reputation among some of my

 colleagues by necessitating that I engage in an internal lobbying campaign to try to

 make Mifeprex available onsite, and necessitating the involvement of additional

 members of our staff in this care. For instance, I was informed about a senior

 leadership meeting at which a colleague raised as a “concern” that I was working

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                                                                                   App.082
Case 1:23-cv-03026-TOR      ECF No. 61-3   filed 03/24/23   PageID.1704 Page 86 of 131




 to make Mifeprex available at our facility (mentioning me by name).

       18.    None of this would have been necessary if I could simply write a

 prescription for Mifeprex for my patient to fill at a retail pharmacy, as I can do for

 virtually every other prescription drug. My colleagues do not have to expend such

 time and resources, or jeopardize their professional reputations, in order to

 prescribe other medications that are equally or less safe than Mifeprex.

       19.    Earlier in 2019, our health care system finally approved Mifeprex as a

 formulary drug. But this was no quick fix: ordering, stocking, and dispensing the

 medication remains a complicated, multi-stage process involving numerous staff

 members across our health care system. To begin, one provider from each

 individual clinic or hospital wishing to prescribe Mifeprex must register with the

 “buyer” for our health care system’s central pharmacy. This entails attesting that

 they will oversee the prescription and dispensing of Mifeprex at their clinic or

 hospital site; completing the necessary materials for Danco; determining how

 many doses to order; and all of the correspondence and paperwork this

 necessitates. The central pharmacy then orders the medication to be stocked at the

 specific clinic or hospital.

       20.    In the Family Medicine clinic where I work, Mifeprex is stored under

 lock in our medication stock room, where we keep vaccines and other medications

 administered in the clinic (typically drugs administered by injection, or basic

                                            8
                                                                                    App.083
Case 1:23-cv-03026-TOR     ECF No. 61-3    filed 03/24/23   PageID.1705 Page 87 of 131




 painkillers like ibuprofen). When one of the medical assistants who works in my

 clinic sees that I have entered an order for Mifeprex, she goes into the medication

 stock room to obtain the pill and complete the special Mifeprex log, noting the

 serial number of the package (as required by the REMS) as well as the two-part

 patient ID (typically, the patient’s medical records number and date of birth).

       21.    Having to comply with the REMS thus dramatically increases the

 number of people in our health care system who must be involved in the provision

 of Mifeprex. In addition to posing logistical complications, this heightens the risk

 of a violation of patient confidentiality—and perpetually threatens that a single

 individual who opposes abortion could delay or derail the process. By contrast, if

 not for the REMS, I could just electronically submit the prescription order to a

 pharmacy of my patient’s choice and no one else would have to be involved.

       22.    Notably, formulary drugs are still subject to “annual” review by the

 system-level pharmacy committee (as compared to the “routine” review for non-

 formulary drugs)—which means that availability at our hospital is still subject to

 debate every year by a committee, the members of which change on a regular

 basis. My ability to include Mifeprex within my practice, and my patients’ access

 to this vital care, remains precarious.

       23.    The Mifeprex REMS also requires me to provide my patients with and

 discuss, and for us each to sign, a “Patient Agreement Form” containing medical

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                                                                                   App.084
Case 1:23-cv-03026-TOR     ECF No. 61-3    filed 03/24/23   PageID.1706 Page 88 of 131




 information about Mifeprex dated to March 2016. This is not merely unnecessary

 from an informed consent perspective—it actively undermines my informed

 consent process by forcing me to discuss with my patients information that is

 inconsistent with my clinical approach and increasingly out-of-step with the

 research on Mifeprex as science moves forward. For instance, the form requires the

 patient’s signature that, “[i]f my pregnancy continues after treatment with

 Mifeprex and misoprostol, I will talk with my provider about a surgical procedure

 to end my pregnancy.” However, I (like many clinicians) treat the small percentage

 of patients whose pregnancies continue following use of the Mifeprex and

 misoprostol regimen with additional medication doses in the first instance, not

 surgery. This is well within the standard of care, yet not reflected in the form—to

 the contrary, the form suggests to patients that surgery is the only option in such a

 case. Moreover, the statement that “the treatment will not work . . . . in about 2 to 7

 out of 100 women” is misleading and not how I counsel my patients about the

 expected efficacy of the treatment: while in some small number of cases, the

 regimen listed on the label will not fully complete the abortion, the treatment may

 very well still work – after, for instance, an additional dosage of misoprostol.

       24.    The Form is particularly ill-suited for my patients to whom I am

 prescribing Mifeprex as part of miscarriage management, as has become the

 standard of care. The Form does not describe the clinical circumstances of patients

                                           10
                                                                                    App.085
Case 1:23-cv-03026-TOR     ECF No. 61-3    filed 03/24/23   PageID.1707 Page 89 of 131




 experiencing pregnancy loss, and can be confusing and distressing for them.

 Nevertheless, because of the REMS, I still must have these patients sign the Form

 before I can prescribe them Mifeprex. For all of these reasons, the Patient

 Agreement Form interferes with my ability to practice my profession in accordance

 with my medical judgment.

       25.    I hope that more clinicians within our health care system will begin

 providing Mifeprex at their own hospitals and clinics as well, and thus continue to

 expand access to this safe and effective medication. I have had numerous

 conversations with like-minded colleagues to that end, including giving them

 advice about navigating the multi-step, time-consuming process I described above

 to register with both our health care system and with Danco as a prescriber and

 then to actually get the medication onsite. Unfortunately, these logistical hurdles

 caused by the REMS have proven to be a significant deterrent, and there are still

 only a handful of us in the health care system who prescribe Mifeprex, either for

 abortion care or for miscarriage management.




                                          11
                                                                                 App.086
Case 1:23-cv-03026-TOR    ECF No. 61-3   filed 03/24/23   PageID.1708 Page 90 of 131




       I declare under penalty of perjury that the foregoing is true and correct.

 Executed in                , on                           2021.




                                                          , M.D., a/k/a Jane Roe, M.D.




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                                                                                App.087
Case 1:23-cv-03026-TOR   ECF No. 61-3   filed 03/24/23   PageID.1709 Page 91 of 131




                         EXHIBIT 8
    Declaration of Diana M. Pearce, Ph.D.
          & Pearce Decl. Appendix




                                                                            App.088
Case 1:23-cv-03026-TOR       ECF No. 61-3   filed 03/24/23   PageID.1710 Page 92 of 131




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                 IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF HAWAIʻI


                                                     CIV. NO. 1:17-cv-00493-JAO-RT
      GRAHAM T. CHELIUS, M.D., et al.,
                                                     [CIVIL RIGHTS ACTION]
                            Plaintiffs,
                                                     DECLARATION OF DIANA M.
                            vs.
                                                     PEARCE, PH.D., IN SUPPORT OF
                                                     PLAINTIFFS’ MOTION FOR
      XAVIER BECERRA, J.D., in his
                                                     SUMMARY JUDGMENT
      official capacity as SECRETARY,
      U.S. D.H.H.S., et al.,
                                                     Judge: Hon. Jill A. Otake
                            Defendants.              Hearing Date: Vacated per Dkt. 107
                                                     Trial Date: Vacated per Dkt. 82



                                                                                App.089
Case 1:23-cv-03026-TOR      ECF No. 61-3     filed 03/24/23   PageID.1711 Page 93 of 131




       Diana M. Pearce, Ph.D., declares and states as follows:

 I.    BACKGROUND AND QUALIFICATIONS

       1.     I make this declaration based on my own personal knowledge. If called

 to testify, I could and would do so competently as follows.

       2.     I provide the following facts and opinions as an expert in the field of

 Sociology, specifically specializing in poverty, women’s welfare, and women

 studies in the United States. I hold an M.S.W. and a joint Ph.D. in Social Work and

 Social Science (Sociology) from the University of Michigan. I am currently the

 Scholar in Residence at the Center for Women’s Welfare at the School of Social

 Work at the University of Washington, after serving as the Founder and Director of

 the Center for 18 years. For more than two decades, I have been on the faculty of the

 School of Social Work as a Senior Lecturer (now Senior Lecturer Emerita), as well

 as an affiliate of the Gender, Women and Sexuality Studies department and the West

 Coast Poverty Center, all at the University of Washington. For over 40 years, I have

 conducted research and published on the topics of poverty and women’s welfare in

 peer-reviewed sociology and poverty journals. Most famously, I coined the term “the

 feminization of poverty,” 1 which became one of the ten themes of the Beijing

 Conference on Women in 1995, as well as the subject of countless articles and books.



 1
  Diana M. Pearce, The Feminization of Poverty: Women, Work and Welfare, 11 Urb. & Soc.
 Change Rev. 28 (1978).

                                             1
                                                                                     App.090
Case 1:23-cv-03026-TOR         ECF No. 61-3       filed 03/24/23    PageID.1712 Page 94 of 131




 I have also authored numerous reports, including for the U.S. Department of Labor

 and the U.S. Civil Rights Commission.

         3.      Since 1996, I have been the creator and principal investigator of the

 Self-Sufficiency Standard (the “Standard”), which measures the amount of income

 necessary for different family types to meet basic needs without public subsidies or

 private/informal assistance. Since then the Standard has been calculated for 41

 states. 2

         4.      I have presented my research on poverty at numerous professional

 conferences and governmental briefings, including presentations to the U.S.

 Department of Health and Human Services and the U.S. House of Representatives.

 I also testified twelve times before the U.S. Congress. I have received various awards

 for my work and research, including:

              • National Association of Social Workers, Presidential Award for
                Leadership in Research (presented at NASW Conference, The
                Feminization of Poverty Revisited) (2013)

              • Wider Opportunities for Women, Setting the Standard (Lifetime
                Achievement) Award (2003)

              • Workforce Development Council of Seattle-King County, for
                Visionary Research on Family Self-Sufficiency (2003)

              • Society for Applied Sociology, Sociological Practice Award (2003)



 2
  For all data and reports relating to and a general explanation of the Standard, see generally Self-
 Sufficiency Standard, http://www.selfsufficiencystandard.org/ (last visited Apr. 7, 2021).

                                                  2
                                                                                              App.091
Case 1:23-cv-03026-TOR        ECF No. 61-3      filed 03/24/23    PageID.1713 Page 95 of 131




        5.     A true and correct copy of my curriculum vitae is attached as

 Exhibit H-1 to this declaration.

 II.    THE IMPACT OF THE RISK EVALUATION AND MITIGATION
        STRATEGY (REMS) FOR MIFEPREX ON WOMEN SEEKING
        ABORTION CARE

        6.     I have been asked to evaluate the impact of the Mifeprex REMS on

 women in the United States seeking abortion care. 3 I understand that under the

 Mifeprex REMS, a patient cannot obtain the medication by prescription at a retail

 pharmacy or by mail; they must receive it at a clinic, medical office, or hospital from

 a clinician who has prearranged to stock and dispense Mifeprex. I understand that

 these requirements deter or prevent a significant number of health care providers,

 such as Dr. Graham Chelius on Kaua‘i, from prescribing medication abortion, and,

 as a result, some patients have to travel further distances or make an entirely

 unnecessary trip in order to access time-sensitive abortion care. I understand further

 that the REMS prevents medication abortion patients who have been evaluated and

 counseled via telemedicine from picking up their prescription at their local pharmacy

 or obtaining their mifepristone prescription by mail without even having to leave

 home, forcing such patients instead to make a trip to a REMS-certified provider just

 to pick up the pill and sign a form.



 3
  I use “women” here as a shorthand for patients who need abortion care, but note that patients
 who are gender non-binary or transgender also utilize these services.

                                                3
                                                                                           App.092
Case 1:23-cv-03026-TOR    ECF No. 61-3    filed 03/24/23   PageID.1714 Page 96 of 131




       7.     Data demonstrate that the overwhelming majority of abortion patients

 are low-income and struggle to make ends meet. As an expert in poverty and

 women’s welfare who has studied the barriers that affect low-income women’s

 access to health care, I know that low-income people find it extremely difficult just

 to afford their basic household needs, let alone unplanned emergency expenses like

 abortion. In my expert opinion, by requiring patients to make additional and/or

 lengthier trips to get a medication abortion, the Mifeprex REMS increases the costs

 and logistical burdens of accessing care—including missed work, transportation and

 child care costs—to such a degree that they significantly delay or entirely prevent

 women from accessing abortion care. Even for those who are ultimately able to

 access care, the resources and other hurdles that the REMS force women to navigate

 often require significant sacrifices for patients and their families that threaten

 patients’ privacy and economic stability, including by jeopardizing their

 employment or housing, forcing patients to forgo other necessary expenses like food

 or other medical care, and increasing the risk of domestic violence.

    A. Many Abortion Patients Cannot Afford to Meet Their Basic Needs.

       8.     The vast majority of women seeking abortion care have low incomes.

 In 2014, the most recent year for which data are available, half (49%) of women

 seeking abortions in the United States had incomes at or below the U.S. Official

 Poverty Measure (OPM), which for 2014 was $11,670 annually for a single person


                                          4
                                                                                App.093
Case 1:23-cv-03026-TOR          ECF No. 61-3        filed 03/24/23   PageID.1715 Page 97 of 131




 or $19,790 for a family of three (in the contiguous U.S.). 4 Another quarter (26%) of

 U.S. abortion patients had incomes between 100 and 200% of the OPM in 2014. 5 In

 other words, based on the OPM, three out of four abortion patients are poor or very

 low-income. 6

          9.       But it is likely that this statistic actually undercounts the percentage of

 abortion patients with inadequate income to meet their basic needs, because the

 OPM is based on a flawed and outdated methodology and set of assumptions. The

 OPM was developed decades ago and assumes that a family’s total budget is three

 times what they spend on food—reflecting average American family expenditure

 patterns of the mid-1950s. However, household expenditure patterns have changed

 significantly since then. For instance, the cost of food has increased much less over



 4
  Jenna Jerman, Rachel K. Jones & Tsuyoshi Onda, Guttmacher Inst., Characteristics of U.S.
 Abortion Patients in 2014 and Changes Since 2008 1, 7 (2016),
 https://www.guttmacher.org/report/characteristics-us-abortion-patients-2014; Prior HHS Poverty
 Guidelines and Federal Register References, U.S. Dep’t of Health & Hum. Servs.,
 https://aspe.hhs.gov/prior-hhs-poverty-guidelines-and-federal-register-references (last visited
 April 7, 2021). For 2021, the amounts are $12,880 for a single person and $21,960 for a family
 of three. 2021 Poverty Guidelines, U.S. Dep’t of Health & Hum. Servs.: ASPE (last updated Jan.
 26, 2021), https://aspe.hhs.gov/2021-poverty-guidelines.
 5
     Jerman, Jones & Onda, supra note 4, at 1, 7.
 6
   Id. Because these statistics are drawn from surveys of patients who received an abortion, they
 do not account for poor or low-income patients who wanted to have an abortion but were
 prevented from accessing one because of financial or other barriers to access. Cf., e.g., Sarah
 C.M. Roberts et al., Out-of-Pocket Costs and Insurance Coverage for Abortion in the United
 States, 24 Women’s Health Issues e211, e215 (2014),
 https://www.sciencedirect.com/science/article/abs/pii/S1049386714000048 (in longitudinal
 study of abortion patients at 30 facilities across the country, more than half reported that the need
 to raise money delayed access to care).

                                                    5
                                                                                               App.094
Case 1:23-cv-03026-TOR         ECF No. 61-3       filed 03/24/23    PageID.1716 Page 98 of 131




 the past decades than almost all other basic expenses, while other costs have

 increased substantially (housing, health care, taxes). Moreover, the OPM does not

 account for geographic variation in costs or for variations in family type (such as by

 children’s ages), and it does not explicitly reflect basic needs like child care, taxes,

 health care, and transportation. 7

        10.     A more accurate measure of income inadequacy is the Self-Sufficiency

 Standard, which my colleagues and I first developed two decades ago to address

 gaps and deficiencies in the federal poverty measures. The Self-Sufficiency Standard

 describes the minimally adequate income that a family of a certain composition in a

 given place needs to meet their basic needs, without public or private assistance. It

 is tailored to reflect the minimum actual costs of housing, child care, food,

 transportation, health care, miscellaneous expenses, taxes, and tax credits for 719

 family types in every county in a given state. The Standard additionally reflects cost



 7
   Increasing recognition of the OPM’s shortcomings led Congress in the 1990s to direct the
 National Academies of Sciences, Engineering and Medicine to undertake a wide-ranging study
 of the measure. See Nat’l Rsch. Council, Measuring Poverty: A New Approach xv, 2–3
 (Constance F. Citro & Robert T. Michael, eds. 1995), https://www.nap.edu/download/4759#.
 The study and resulting report spurred a number of experimental measures piloted by the U.S.
 Census Bureau, and, in 2010, the Bureau adopted the Supplemental Poverty Measure (SPM). See
 Liana Fox, U.S. Census Bureau, The Supplemental Poverty Measure: 2019 (2020),
 https://www.census.gov/library/publications/2020/demo/p60-272.html. Although the SPM
 addresses some of the problems with the OPM, such as varying housing costs by Census region,
 it does not consider the substantial variation in housing costs within the four Census regions, and
 it either fails to or inadequately addresses the other flaws discussed above. In particular, the SPM
 methodology does not address the most serious shortcoming of the OPM— that it seriously
 underestimates the total cost of basic needs—and thus like the OPM, the SPM is likewise much
 too low, everywhere and for every family type.

                                                  6
                                                                                              App.095
Case 1:23-cv-03026-TOR        ECF No. 61-3      filed 03/24/23   PageID.1717 Page 99 of 131




 differentials due to the age of children; thus, families with children below school age

 requiring full-time child care will have a higher Standard than those with older or no

 children. Whenever possible, the amount for a given need is based on the amount of

 financial assistance that the government (federal or state) has deemed minimally

 adequate for that basic need (such as housing, child care, or food expenses). 8

        11.    We have found that a substantial percentage of people across the

 country—and far more than are captured by the OPM—do not have incomes

 sufficient to meet their basic needs. 9 (This is true even though the vast majority of

 households with incomes below the Standard have at least one worker in them. 10)

 The Standard is higher than the OPM in every jurisdiction for which we have




 8
   For housing, the Standard uses the U.S. Department of Housing and Urban Development Fair
 Market Rents, which set the maximum rent allowed for Section 8 voucher (housing assistance)
 recipients; for child care costs, the Standard uses the maximum amount set by the state for
 reimbursement for those receiving child care assistance (minus child care copayments); and for
 food costs, the Standard uses the U.S. Department of Agriculture’s “Low-Cost” Food Plan,
 which only covers the cost of basic groceries, with no allowance for any take-out or restaurant
 food. L. Manzer & A. Kucklick, Ctr. for Women’s Welfare, Technical Brief: The Self-
 Sufficiency Standard 2021 Update (2021) (available upon request from the Center for Women’s
 Welfare, University of Washington School of Social Work, www.selfsufficiencystandard.org).
 9
   When calculating income inadequacy compared to the Standard, we consider all cash resources
 available to a household, including cash assistance, such as Temporary Assistance for Needy
 Families (TANF) or Supplemental Security Income (SSI). It should be noted, however, that the
 income limits for means-tested cash assistance are very low (often near or even below the OPM),
 and thus are never sufficient to bring a family up to their Self-Sufficiency Standard.
 10
   See, e.g., Diana M. Pearce, Ctr. for Women’s Welfare, Overlooked and Undercounted 2018:
 Struggling to Make Ends Meet in Colorado, at vi (2018),
 http://www.selfsufficiencystandard.org/sites/default/files/selfsuff/docs/CO18 Demo Web.pdf.

                                                7
                                                                                           App.096
Case 1:23-cv-03026-TOR         ECF No. 61-3     filed 03/24/23   PageID.1718 Page 100 of 131




 calculated it—sometimes significantly higher. 11 This is especially true for

 families—which is notable here since, nationwide, about 60% of women seeking an

 abortion have at least one child. 12

          12.     In fact, the Self-Sufficiency Standard for a family consisting of one

 adult and one infant exceeds 200% of the OPM in 92% of counties in the 31 states

 for which we have current Standard data and in every single county in 20 states. And

 the gaps are similarly stark for other family types. 13 In other words, given that the

 Standard is a bare-bones budget, it is clear that in the vast majority of counties in

 most states, abortion patients with incomes living up to 200% of OPM still lack the

 minimum income necessary to afford even their basic household needs.

          13.     My research in numerous states to determine the characteristics of

 households most likely to have income below the Self-Sufficiency Standard further

 reinforces the existing data showing that most abortion patients struggle to make

 ends meet. As noted, a majority of abortion patients are mothers, 14 and


 11
  The states with current Standard data included in this analysis are: AL, AZ, CA, CO, CT, FL,
 GA, HI, IL, IN, KS, MA, MD, MI, MN, MO, NC, NJ, NV, NY, OK, OR, PA, SC, TN, TX, UT,
 VA, WA, WI, and WY. Data on file with the author.
 12
    Abortion Surveillance — United States, 2018, Ctrs. for Disease Control & Prevention, at Table
 7 [hereinafter “CDC Abortion Surveillance”],
 https://www.cdc.gov/mmwr/volumes/69/ss/ss6907a1.htm#T7 down (last updated Nov. 7, 2020).
 13
   For a family of one adult and one preschooler, the Standard exceeds 200% of the OPM in 88%
 of counties; for a family with one adult, one preschooler, and one school-aged child, in 83% of
 counties; and, for a family with two adults, one preschooler, and one school-aged child, in 84%
 of counties.
 14
      CDC Abortion Surveillance, supra note 12, Table 7.

                                                 8
                                                                                           App.097
Case 1:23-cv-03026-TOR        ECF No. 61-3     filed 03/24/23    PageID.1719 Page 101 of 131




 approximately 85% are unmarried. 15 Moreover, 60% identify as people of color,

 including 53% identifying as Black or Hispanic. 16 My colleagues and I have

 uniformly found that these are the very populations that are statistically more likely

 than other demographic groups to live below the Standard.

          14.    For example, the percentage of Black households with incomes below

 the Standard is on average double the percentage of white households with incomes

 below the Standard; the percentage of Latinx households is 2.5 times the percentage

 of white households; and the percentage of single-mother families with incomes

 below the Standard is 2.2 times that of married couples with children. 17 This is

 particularly true for single mothers of color: on average, almost three out of four

 (74%) Black single mothers, and almost four out of five (79%) Latina single

 mothers, have incomes below the Standard. 18




 15
      Id. at Table 6, https://www.cdc.gov/mmwr/volumes/69/ss/ss6907a1.htm#T6_down.
 16
   Id. at Table 5, https://www.cdc.gov/mmwr/volumes/69/ss/ss6907a1.htm#T5_down; see also
 Jerman, Jones & Onda, supra note 4, at 1, 5.
 17
   Based on an analysis of Standard data and demographic reports for California (2019),
 Colorado (2016), Connecticut (2017), Maryland (2015), New York City (2019), New York State
 (2019), Pennsylvania (2017), Washington (2013), and Wyoming (2010–2014). Data on file with
 the author and/or available on the Standard website, in individual reports. See Self-Sufficiency
 Standard by State, Self Sufficiency Standard, http://www.selfsufficiencystandard.org/self-
 sufficiency-standard-state (last visited Apr. 8, 2021); Research and Resources: Demographic
 Reports, Self Sufficiency Standard, http://www.selfsufficiencystandard.org/node/30 (last visited
 Apr. 8, 2021).
 18
    In every state for which we have performed these demographic analyses, at least 65% of Black
 single mothers and 74% of Latina single mothers had incomes below the Standard, compared to
 an average of 52% of white single mothers. See resources listed above, supra note 17.

                                                9
                                                                                           App.098
Case 1:23-cv-03026-TOR      ECF No. 61-3      filed 03/24/23   PageID.1720 Page 102 of 131




        15.    To further illustrate this concept, consider Kaua‘i. On that island, where

 Dr. Chelius’s patients live, the 2020 Self-Sufficiency Standard—the minimum

 income necessary for basic subsistence, based largely on government reimbursement

 rates—for a single adult caring for one school-aged child and one preschooler was

 nearly 1.75 times the median household income for single-mother households in

 Kaua‘i, and more than triple the 2020 OPM for a family of three. 19 For a single adult

 caring for one infant, the Standard was 1.8 times higher than the median income for

 single mothers in Kaua‘i, and more than four times the 2020 OPM for a family of

 two. 20 Thus, many single-mother households in Kaua‘i that would not be classified

 as poor or low-income according to the OPM are in fact struggling to afford basic

 household needs.

        16.    Kaua‘i is not an outlier. I analyzed the monthly basic needs budget for

 families with one adult and one preschooler in the least expensive county, median

 county, and county with the largest city in eight representative states across the


 19
    Compare Hawaii Self-Sufficiency Standard Table, 2020, at By County tab, Table 3, cell L71
 (2020) [hereinafter “Hawaii Standard 2020”], http://www.selfsufficiencystandard.org/node/50
 (Self-Sufficiency Standard of $69,224), with U.S. Census Bureau, Table S1903: Median Income
 in the Last 12 Months, https://data.census.gov/cedsci/table?q=S1903&tid=ACSST1Y2019.S1903
 (filter by “Browse Filters: Geography,” “Geography: County,” “Within (State): Hawaii,” and
 select “Kauai County, Hawaii) (last visited April 7, 2021) (median income of $39,422 for
 “Female householder, no spouse present” and “With own children under 18 years”), and 2020
 Poverty Guidelines, U.S. Dep’t of Health & Hum. Servs.: ASPE (last updated Jan. 21, 2020),
 https://aspe.hhs.gov/2020-poverty-guidelines (2020 OPM of $21,720).
 20
   Compare Hawaii Standard 2020, supra note 19, at By County tab, Table 3, cell C71 (Self-
 Sufficiency Standard of $70,788), with U.S. Census Bureau, Table S1903, supra note 19 (median
 income of $39,422), and 2020 Poverty Guidelines, supra note 19 (2020 OPM of $17,240).

                                              10
                                                                                        App.099
Case 1:23-cv-03026-TOR         ECF No. 61-3       filed 03/24/23    PageID.1721 Page 103 of 131




 country, all of which have statewide poverty rates (according to the OPM) similar to

 either the national average or the average for their geographic region. 21 In every

 county in every state considered in this analysis, a full-time minimum wage worker 22

 is unable to afford the minimum needs for their family. In all eight states, one adult

 with a preschool-aged child in the least expensive county in the state (i.e., the county

 with the lowest Standard) needs at least 36% more than a full-time minimum wage

 income (Santa Cruz County, AZ) and as much as two or more times the minimum

 wage (Uvalde County, TX, and Person County, NC), just to afford their family’s

 basic needs. For those living in the largest city in each of these states, the deficit is

 even more substantial: in Chicago (Cook County, IL), a single mother with a

 preschooler needs to earn almost twice the minimum wage, while in Charlotte, NC

 (Mecklenburg County), she needs to earn at least 3.6 times the minimum wage, just

 to meet her basic needs. These families are already forced to make sacrifices or

 economic trade-offs just to scrape by; any added expense, no matter how small, can

 be destabilizing, potentially forcing them to forgo basic needs like food, rent, or




 21
   States used in this analysis are those (a) with statewide poverty rates closest to the national rate
 or to the average rate for states in their Census region, based on data from the U.S. Census
 Bureau, and (b) for which current Self-Sufficiency Standard data (2021) was available. See
 Exhibit H-2 (summarizing Standard data for all 8 states).
 22
   The Standard assumes full-time work (40 hours per week). Thus, I am evaluating whether full-
 time work at the state (or local) minimum wage will be enough to meet the cost of basic needs in
 the Standard for this family type in each place.

                                                  11
                                                                                                App.100
Case 1:23-cv-03026-TOR         ECF No. 61-3       filed 03/24/23    PageID.1722 Page 104 of 131




 medical care. 23

        17.     Key economic trends indicate that American families may be facing

 even more challenges in the future. For example, in every state in which my

 colleagues and I have tracked the Standard over the last two decades, the cost of

 basic needs has been rising faster than income, even during the Great Recession and

 the subsequent Recovery. 24 In addition, the economic precarity of many working

 families across the country has only been amplified by the current economic

 recession relating to the COVID pandemic. While the data showing the full extent

 of the economic impact of the pandemic is not yet available, and uncertainty remains

 due to new surges in COVID cases, the widespread job losses and staggeringly high

 rates of unemployment experienced so far already have taken their toll, with large


 23
    For many families, public assistance will be inadequate to fill these gaps. For example, as its
 name suggests, the Temporary Assistance for Needy Families Program (TANF) is not designed
 to be an ongoing source of income for working families; although work is required to maintain
 eligibility, even working part-time is likely to result in an income too high to maintain eligibility
 for TANF. And while in-kind benefits such as SNAP (food stamps), child care assistance, and
 housing assistance are meant to help low-wage workers, only a minority of eligible families
 actually receive those benefits. See, e.g., Gov’t Accountability Office, Child Care: Subsidy
 Eligibility and Receipt, and Wait Lists – Briefing to Senate Comm. on Health, Educ., Labor &
 Pensions and House Comm. on Educ. & Labor, GAO-21-245R, at 12 (2020),
 https://www.gao.gov/assets/gao-21-245r.pdf (only 14% of children eligible for child care
 assistance under federal standards, and only 22% of those eligible under state rules, actually
 receive such assistance in an average month); G.T. Kingsley, Urban Institute, Trends in Housing
 Problems and Federal Housing Assistance3 (2017),
 https://www.urban.org/sites/default/files/publication/94146/trends-in-housing-problems-and-
 federal-housing-assistance.pdf (only about one in five low-income renters with housing needs
 received assistance in 2015).
 24
  For example, see Standard Reports for Colorado, Connecticut, Indiana, Maryland, Michigan,
 New York, New York City, North Carolina, Ohio, Oregon, South Carolina, Washington,
 Wisconsin, and Wyoming, all available at Self-Sufficiency Standard by State, supra note 17.
                                                  12
                                                                                                App.101
Case 1:23-cv-03026-TOR       ECF No. 61-3      filed 03/24/23    PageID.1723 Page 105 of 131




 numbers of families citing serious economic impacts and concerns for the future. 25

 These losses have disproportionately affected single mothers, particularly women of

 color, and other households that had inadequate income to meet their basic needs

 even before the recession. 26

        18.    In sum, in considering the impact of the Mifeprex REMS on access to

 abortion nationwide, it is important to recognize that the vast majority of abortion

 patients—likely even more than the 75% of patients with incomes at or below 200%

 OPM—are already unable to afford their and their families’ basic needs. For these

 patients, the unexpected, emergency expenses associated with traveling for abortion

 care—whether to another county, city, or state, or even to a second local health care

 facility—presents a serious hardship or is entirely impossible.

      B. The Mifeprex REMS Imposes Significant Costs and Burdens on
         Medication Abortion Patients.

        19.    Abortion access is very limited in the United States. Approximately 90


 25
    J. Horowitz et al., A Year Into the Pandemic, Long-Term Financial Impact Weighs Heavily on
 Many Americans, Pew Rsch. (Mar. 5, 2021), https://www.pewresearch.org/social-
 trends/2021/03/05/a-year-into-the-pandemic-long-term-financial-impact-weighs-heavily-on-
 many-americans/ (finding that 40% of adults say they or someone in their household lost a job or
 wages during the pandemic, and half of those who did so are still earning less than before the
 pandemic).
 26
   See id. (finding that, during the pandemic, Black and low-income workers are more likely to
 have incurred debt or put off paying household bills due to lost income); A. Barroso & R.
 Kochhar, In the pandemic, the share of unpartnered moms at work fell more sharply than among
 other parents, Pew Rsch. (Nov. 4, 2020), https://www.pewresearch.org/fact-tank/2020/11/24/in-
 the-pandemic-the-share-of-unpartnered-moms-at-work-fell-more-sharply-than-among-other-
 parents/ (finding steepest declines among Black and Hispanic single mothers and single mothers
 with young children).

                                               13
                                                                                           App.102
Case 1:23-cv-03026-TOR        ECF No. 61-3       filed 03/24/23    PageID.1724 Page 106 of 131




 percent of U.S. counties lack an abortion clinic, and, nationwide, 38% of women of

 reproductive age live in those counties. 27 A survey of a nationally representative

 sample of more than 8,000 abortion patients found that the average distance traveled

 to reach the clinic was 68 miles round-trip. 28 In a majority of states, at least one in

 five women of reproductive age lives more than 50 miles from the nearest clinic. 29

 While rural women are most likely to face significant travel distances, 30 women in

 many cities must also travel significant distances to obtain abortion care: for

 instance, a 2018 study characterized 27 major U.S. cities as “abortion deserts”

 because they did not have a publicly advertised facility that provides abortions

 within 100 miles. 31


 27
    Rachel K. Jones & Jenna Jerman, Abortion Incidence and Service Availability in the United
 States, 2014, 49 Persp. on Sexual & Reprod. Health 17, 20 (2017),
 https://onlinelibrary.wiley.com/doi/epdf/10.1363/psrh.12015. Today, 95% of abortions are
 performed in clinics (rather than doctors’ offices or hospitals). Id. at 17.
 28
    Liza Fuentes & Jenna Jerman, Distance Traveled to Obtain Clinical Abortion Care in the
 United States and Reasons for Clinic Choice, 28 J. Women’s Health 1623, 1625 (2019),
 https://pubmed.ncbi.nlm.nih.gov/31282804/.
 29
    Jonathan M. Bearak et al., Disparities and Change Over Time in Distance Women Would Need
 to Travel to Have an Abortion in the USA: A Spatial Analysis, Lancet Pub. Health e493, e495–96
 (2017), https://www.thelancet.come/action/showPDF?pii=S2468-2667%2817%2930158-5 (in
 six states, a majority live more than 50 miles away, including two where a majority live more
 than 150 miles from the nearest provider).
 30
   See, e.g., Nicole E. Johns et al., Distance Traveled for Medicaid-Covered Abortion Care in
 California, 17 BMC Health Serv. Res. 287, 294 (2017), https://doi.org/10.1186/s12913-017-
 2241-0 (more than half of rural women in California traveled more than 50 miles to obtain an
 abortion); Bearak et al., supra note 29, at e497 (identifying swath of rural counties in the middle
 of the United States with travel distances of more than 180 miles to nearest abortion clinic).
 31
    Alice Cartwright et al., Identifying National Availability of Abortion Care and Distance from
 Major US Cities: Systematic Online Search, 20 J. Med. Internet Res. 7 (2018),
 https://www.jmir.org/2018/5/e186/.

                                                 14
                                                                                              App.103
Case 1:23-cv-03026-TOR     ECF No. 61-3    filed 03/24/23   PageID.1725 Page 107 of 131




       20.    I understand that the Mifeprex REMS increases the distance that many

 women must travel to obtain a medication abortion, both by diminishing the number

 of medication abortion providers across the country (thus increasing the distance or

 number of trips patients must make to access care), and by preventing medication

 abortion providers from delivering mifepristone care to their eligible patients using

 telemedicine and mail (i.e., but for the REMS, those patients would not have to travel

 at all to get the care they need).

       21.    As detailed below, the costs and burdens associated with increased

 travel and/or multiple trips to obtain an abortion typically include transportation,

 child care, and missed work, and may also include lodging, increased food costs

 (while traveling), and other unexpected expenses. There are also nonfinancial costs,

 as the logistics and time associated with travel, and the need to raise money for travel

 and associated costs, will often require the patient to share the fact of her abortion

 with people, such as household members and employers, whom she otherwise would

 not wish to tell—which may put her at risk for domestic violence or jeopardize her

 employment.

       22.    In my expert opinion, the overwhelming majority of people seeking

 abortions nationwide who have incomes too low to meet their basic needs—at

 minimum, three out of four abortion patients—suffer significant harm as a result of

 these added costs and burdens. Many are delayed in accessing this time-sensitive


                                           15
                                                                                   App.104
Case 1:23-cv-03026-TOR     ECF No. 61-3     filed 03/24/23   PageID.1726 Page 108 of 131




 care while they raise funds and make travel and logistical arrangements; some are

 blocked from obtaining an abortion at all because they cannot afford and navigate

 these costs and complications, or because they cannot safely share their abortion

 decision with household members or employers. Even those who are able to obtain

 an abortion despite these hurdles will have to make harmful trade-offs to do so—

 such as forgoing groceries or other medical care for themselves or their families,

 failing to pay bills including those for heat or rent, which puts the family at risk of

 losing their utilities or housing, or otherwise incurring debts that could have long-

 term consequences for household stability—or be forced to compromise their

 privacy and safety to access care.

                               Travel and Transportation

       23.    The additional travel costs necessitated by the REMS in order to access

 a medication abortion impose substantial burdens for low-income women. Even

 local trips of relatively short distances can present significant financial and logistical

 challenges for low-income women, who—as discussed above—are typically already

 struggling to afford basic household needs. And those costs and burdens are

 compounded for patients who live a considerable distance from the nearest

 medication abortion provider and who may have to incur significant financial costs

 for transportation, time off from work, child care, and potentially meals away from

 home, and lodging in order to access care.


                                            16
                                                                                     App.105
Case 1:23-cv-03026-TOR         ECF No. 61-3      filed 03/24/23     PageID.1727 Page 109 of 131




        24.     For people with incomes below the minimum basic needs budget for

 their area, any added expenses—like refilling a gas tank, or taking a relatively short

 taxi ride—can stretch already strained and overextended budgets. The logistical

 burdens of arranging a trip to a REMS-certified provider can be especially

 challenging for those living in the majority of places in the United States with limited

 or essentially no public transportation options, particularly given that 9% of all

 households in the U.S. and 24% of households with incomes below the OPM do not

 have a vehicle, or have access to a vehicle. 32 Even if a low-income woman has access

 to a car, it may be shared among multiple people, which can limit access in practice,

 thus delaying care or forcing patients to disclose their abortion to others.

        25.     These burdens are compounded for those women who live farther from

 a REMS-certified provider and who may have to travel outside their county or state

 to access care. Cars owned by low-income households are older on average 33 and

 therefore less dependable for long journeys. And, for those without access to a


 32
   See N. McGuckin & A. Fucci, U.S. Dept. of Transp., Summary of Travel Trends 2017
 National Household Travel Survey 60, at Table 17, (2018) [hereinafter “NHTS 2017
 Summary”], https://nhts.ornl.gov/assets/2017 nhts summary travel trends.pdf; U.S. Dep’t of
 Transp., Fed. Highway Admin., FHWA NHTS BRIEF 2014: Mobility Challenges for
 Households in Poverty 2. (2014), https://nhts.ornl.gov/briefs/PovertyBrief.pdf.
 33
    NHTS 2017 Summary, supra note 32, at 8, 20; see also Jenna Jerman et al., Barriers to
 Abortion Care and Their Consequences For Patients Traveling for Services: Qualitative
 Findings from Two States, 49 Perspectives on Sexual & Reprod. Health 95, 98 (2017) (in
 qualitative study of abortion patients in New Mexico and Michigan who crossed state lines or
 traveled long distances, factors including “limited access to safe and reliable transportation, or
 the need to use multiple means of transport[] significantly increased the time it took women to
 travel even relatively short distances” to access abortion care).

                                                  17
                                                                                               App.106
Case 1:23-cv-03026-TOR        ECF No. 61-3       filed 03/24/23    PageID.1728 Page 110 of 131




 private car, bus or other transportation options between cities may be limited or

 inaccessible. For example, for a patient in Phillipston, MA, 34 there are abortion

 providers approximately 30 miles away in Worcester, MA, 35 and Keene, NH. But

 given limited public transportation options, traveling to Worcester would take at

 minimum 4 hours and three bus transfers, at an estimated round-trip cost of $42.50 36;

 traveling to Keene, NH, would require five transfers and more than a day of travel. 37

 For a patient in Cullowhee (Jackson County), NC, there are no public transportation

 options available to the nearest provider approximately 50 miles away in Asheville;



 34
   With the exception of Kaua‘i, Hawai‘i, all other locations used to provide examples of travel
 distances, routes, and costs in this section are drawn from the same subset of counties in states
 with poverty rates similar to regional and national averages listed in Exhibit H-2.
 35
   All distances to nearest providers are based on a search of publicly listed abortion clinics via
 Planned Parenthood, https://www.plannedparenthood.org/ (last visited Apr. 8, 2021), and Find a
 Provider, National Abortion Fed’n, https://prochoice.org/patients/find-a-provider/ (last visited
 Apr. 8, 2021). Driving distances in this section are estimated using Google Maps, assuming
 uncongested travel times. Bus, train, and flight fares assumed travel within two weeks of search.
 36
    See MART Trip Planner, Montachusetts Reg’l Trans. Auth., http://www.mrta.us/trip-planner
 (search start: “Phillipston, MA,” and finish: “Worcester, MA”). The Athol Link bus service
 departs Phillipston approximately every 90 minutes between 5:45 a.m. and 6:00 p.m., Monday
 through Friday. Patients would need to transfer at the Gardner City Hall stop to the Wachusett
 Shuttle line, which, at the time of search, was operating on a limited schedule of only four
 departures per day (6:05 a.m., 8:20 a.m., 1:05 p.m., and 6:05 p.m.). Patients would then need to
 transfer again at the MART Intermodal Transportation Center to the Clinton-Worcester
 Commuter Shuttle (commuter line, only running in morning hours) or the Worcester Shuttle
 (only three departures per day) for service to downtown Worcester. For full route schedules and
 fares, see Routes and Schedules, Montachusetts Reg’l Trans. Auth., http://www.mrta.us/routes-
 schedules (last visited Apr. 9, 2021), and Fares and Passes, Montachusetts Reg’l Trans. Auth,
 http://www.mrta.us/farespasses (last visited Apr. 9, 2021). Patients would also need to arrange
 transportation from home to the departure station and from the arrival station to the clinic.
 37
   See MART Trip Planner, supra note 36. Although my search identified other clinics within 50
 miles of Phillipston, travel by public transportation was similarly complicated for all options,
 involving multiple transfers and multiple-hour trips.

                                                 18
                                                                                              App.107
Case 1:23-cv-03026-TOR        ECF No. 61-3      filed 03/24/23   PageID.1729 Page 111 of 131




 she would have to take a taxi all the way to the outskirts of the city to reach the

 closest bus stop, at a cost of $140–170. 38 For the families living below the Self-

 Sufficiency Standards for those states, these added expenses and lengthy travel

 time—not to mention the time and effort necessary to navigate multiple bus

 schedules and transfers in potentially unfamiliar locations—may be insurmountable.

        26.     Furthermore, routes and departure times are often very limited—even

 more so now, as some services reduced routes during the pandemic and have not yet

 resumed full service. If available arrival times do not align with available

 appointment times, even trips of only moderate distance may turn into more

 expensive cab rides, 39 or require overnight stays, requiring lodging and increasing

 child care costs and time away from work.

        27.     The burdens continue to increase for the sizeable percentage of women

 traveling especially long distances of 100 miles or more each way to access abortion

 care, 40 such as those in Quartzsite, AZ (La Paz County), who must travel




 38
   See Rome2Rio, https://www.rome2rio.com/map/Asheville/Cullowhee (last visited Apr. 9,
 2021).
 39
   For example, a taxi between Phillipston and Worcester could cost approximately $110 one
 way, or $220 round-trip. See Taxi Fare Finder, https://www.taxifarefinder.com/ (last visited Apr.
 12, 2021) (searching for “Phillipston, Massachusetts,” to “Worcester, Massachusetts,” and
 selecting “Cheapest” filter).
 40
   See, e.g., Bearak et al., supra note 29 (majority of women of reproductive age in North Dakota
 and Wyoming and one in five women in Alaska, Idaho, Kansas, Missouri, Montana, New
 Mexico, and South Dakota lived more than 100 miles from the nearest provider).

                                                19
                                                                                            App.108
Case 1:23-cv-03026-TOR         ECF No. 61-3      filed 03/24/23   PageID.1730 Page 112 of 131




 approximately 125 miles each way to reach a provider in Phoenix, AZ, 41 or Dalhart

 (Dallam County), TX, who must travel 200 miles each way to Lubbock, TX. 42 In

 extreme cases, such as for patients living in Hawai‘i or in other states with island

 populations (such as Alaska, Maine, North Carolina, and Florida), air travel may be

 required to access in-person abortion care. For example, in Hawai‘i, I understand

 that there are no clinics offering abortion care on the islands of Kaua‘i, Hawai‘i,

 Lana‘i, Moloka‘i, and Ni‘ihau, necessitating inter-island travel to O‘ahu to reach the

 nearest abortion provider. Since these arrangements are often made within a short

 timeframe, the costs tend to be higher than for long-planned travel. For example, the

 lowest round-trip ticket to O‘ahu (bought for travel within two weeks of purchase)

 was $178 for Kona, Lihu’e, or Hilo, according to Kayak.com. 43 On top of flight

 costs, abortion patients would also need to pay for ground transportation to and from

 the airport and/or overnight parking. For those living on Hawai‘i, the price of a taxi

 to or from the Hilo airport can run from $12 for people living in Hilo to $104 for


 41
   Approximately 2 hours by car or bus ($56–62 round-trip, depending on how many days in
 advance of travel reservation is made, with only 4:00 a.m. departures and 10:30 p.m. returns
 available). See Book A Trip, Greyhound, https://www.greyhound.com/en (last visited Apr. 11,
 2021). Clinics in El Centro, CA, and Coachella, CA, are similar distances by car, but options by
 bus take much longer and are more expensive.
 42
   Approximately 3 hours by car. There is no bus service directly from Dalhart. Patients would
 have to arrange transportation to Dumas, TX (approximately 35 miles away), for bus service to
 Lubbock (at least 3.5–5 hours, depending on schedule), at a total round-trip cost of $200–280,
 including a taxi from Dalhart to Dumas. See Greyhound, supra note 41; Rome2Rio,
 https://www.rome2rio.com/map/Dalhart/Lubbock (last visited Apr. 11, 2021).
 43
      Kayak.com, http://www.kayak.com (last visited April 7, 2021).

                                                 20
                                                                                            App.109
Case 1:23-cv-03026-TOR        ECF No. 61-3       filed 03/24/23    PageID.1731 Page 113 of 131




 people living in Honoka‘a. 44 Additionally, the cost of public transportation once on

 O‘ahu is $5.50 per day. Thus, for a woman from Honoka‘a traveling to Honolulu for

 abortion care, the cost of ground transportation alone (in both places) can exceed

 $219.45 In addition, for many low-income women, particularly those for whom

 English is a second language and/or non-citizens, air travel may pose psychological

 and emotional hurdles, as it requires security checks, identification that may not be

 regularly needed, and simply the unfamiliarity of airplane travel.

        28.     Finally, for those who have to travel long distances or inter-island—

 such as patients in Hawai‘i, Buffalo (Dallas County), MO (320 miles round-trip to

 Kansas City, KS), or Dalhart, TX (400 miles round trip to Lubbock)—travel for

 abortion may require overnight lodging, 46 for example, because of limited bus


 44
    Taxicab, Hawaii.gov: Hilo Int’l Airport, http://airports.hawaii.gov/ito/getting-to-from/ground-
 transportation/taxicab (last visited April 7, 2021). For patients with cars, the cost of parking at
 the Hilo airport is $15 per day. Parking, Hawaii.gov: Hilo Int’l Airport,
 http://airports.hawaii.gov/ito/getting-to-from/parking/ (last visited April 7, 2021). Like many
 other places in the United States, Hawai‘i has poor public transportation options, especially
 outside of O‘ahu, and visitors to the counties of Hawai‘i and Kaua‘i, for example, are strongly
 urged to rent a car or use taxis for local transportation. See Sheila Beal, What are the public
 transportation options in Hawaii, Go Visit Hawaii (Oct. 23, 2017),
 https://www.govisithawaii.com/2017/10/10/what-are-the-public-transportation-options-in-
 hawaii/; Transportation Rankings, U.S. News, https://www.usnews.com/news/best-
 states/rankings/infrastructure/transportation (last visited April 7, 2021) (ranking the state of
 Hawaii 40th in terms of transportation infrastructure).
 45
    Adult Fare, The Bus: City and County of Honolulu, http://www.thebus.org/Fare/Adultfare.asp
 (last visited April 7, 2021).
 46
   See, e.g., Caitlin Gerdts et al., Impact of Clinic Closures on Women Obtaining Abortion
 Services After Implementation of a Restrictive Law in Texas, 106 Am. J. Pub. Health 857, 861–
 63 (2016) (in study of Texas abortion patients whose nearest abortion clinic had closed as a
 result of a 2013 law, 16% reported having to stay overnight to access abortion care).

                                                 21
                                                                                              App.110
Case 1:23-cv-03026-TOR          ECF No. 61-3      filed 03/24/23    PageID.1732 Page 114 of 131




 schedules, to accommodate early morning appointments, to obtain the least

 expensive bus or flight ticket, or if the round-trip distance is too far to travel in a

 single day. 47 Such costs are typically higher if reservations must be made just a few

 days or weeks ahead of time. According to a discount website, the cost of lodging

 starts around $83 in Honolulu, $43 in Lubbock TX, and $49 in Kansas City, KS. 48

           29.    Especially for women already struggling to make ends meet, the added

 costs and logistical burdens of arranging transportation to a REMS-certified provider

 can be onerous, if not insurmountable.

                                            Missed Work

           30.    Traveling to pick up a pill in person at a hospital, clinic, or medical

 office instead of receiving it by mail at home, or traveling to a second health care

 facility because the provider who diagnosed a patient’s pregnancy cannot write them

 a prescription for Mifeprex, also may interfere with patients’ work schedules.

 Women who have to travel long distances to reach a REMS-certified prescriber may

 47
    For example, there is no direct bus service out of Buffalo, MO. To reach Kansas City, KS, a
 patient would first need to figure out how to get to Springfield, MO, 30 miles away. From there,
 she could take a Greyhound bus to Kansas City, MO, and then a shuttle to Kansas City, KS, at a
 cost of $62–104 round-trip (depending on how many days in advance she makes the reservation),
 not including the cost of getting to Springfield and back. In addition, there is only one bus per
 day between Springfield and Kansas City, departing at 2:15 p.m., and arriving at approximately
 6:00 p.m. Accordingly, she would also likely need to travel the day before her appointment and
 stay overnight. See Greyhound, supra note 41 (no results for “Buffalo, MO”; results for travel to
 Kansas City, MO, from Springfield). Alternative options from Springfield include, e.g., a 4.5-
 hour bus at a cost of $130 round-trip to St. Louis, MO, or a 3.5-hour bus ride each way at a cost
 of approximately $72–96 round trip to Tulsa, OK, which would also likely require an overnight
 stay. Id.
 48
      See Hotels.com, https://www.hotels.com/ (last visited Apr. 11, 2021).
                                                  22
                                                                                           App.111
Case 1:23-cv-03026-TOR           ECF No. 61-3       filed 03/24/23    PageID.1733 Page 115 of 131




 miss multiple days of work. Especially for low-income workers, the burdens

 associated with arranging time off work can result in delayed care, lost income, and

 even threats to job security.

           31.     About 40% of women workers in the United States have no paid time

 off. 49 Among low-wage workers (the bottom 25%), 93% lack paid family leave and

 49% lack paid sick leave 50; and almost two-thirds of workers in jobs that do not

 require a college degree lack paid personal days. 51 For part-time workers, 52 92% lack

 paid family leave, three-quarters have no paid sick leave, and two-thirds lack any

 paid vacation or holidays. 53 For those without paid time off, any time away from

 work in order to access abortion care translates into lost wages. According to one

 study, the mean wages lost as a result of traveling for abortion care because of missed




 49
   Cynthia Hess et al, Inst. for Women’s Pol’y Res., The Status of Women in the States: 2015, at
 88 (2015), https://iwpr.org/wp-content/uploads/2020/08/R400-FINAL-8.25.2015.pdf.
 50
   Pronita Gupta et al., Paid Family and Medical Leave is Critical for Low-wage Workers and
 Their Families 1 (Dec. 2018), https://www.clasp.org/publications/fact-sheet/paid-family-and-
 medical-leave-critical-low-wage-workers-and-their-families.
 51
    Gregory Acs & Pamela Loprest, Urb. Inst., Employers in the Low-Skill Labor Market, Brief
 No. 2: Low-Skill Jobs, Work Hours, and Paid Time Off 4 (2008),
 https://www.urban.org/sites/default/files/publication/32211/411802-Low-Skill-Jobs-Work-
 Hours-and-Paid-Time-Off.PDF.
 52
   Twenty-five percent of women workers are employed in a part-time position. Economics
 Daily: Percentage of Employed Women Working Full Time Little Changed Over Past 5 Decades,
 U.S. Bureau of Lab. Statistics (Dec. 1, 2017), https://www.bls.gov/opub/ted/2017/percentage-of-
 employed-women-working-full-time-little-changed-over-past-5-decades.htm?view_full.
 53
      Gupta, supra note 50, at 1; Hess et al, supra note 49, at 89.

                                                    23
                                                                                          App.112
Case 1:23-cv-03026-TOR         ECF No. 61-3      filed 03/24/23   PageID.1734 Page 116 of 131




 work was $198 nationally. 54

           32.    Missing one or more days from work not only means lost wages, but

 may also put the job itself at risk, leading to economic instability. In many cases,

 low-wage workers have unpredictable hours or are required as a condition of

 employment to regularly work overtime, both of which make it difficult to reliably

 plan appointments and related travel during non-work hours. It can be extremely

 difficult for low-wage workers to get a particular day off, particularly on short notice.

 And taking unapproved time off to keep an appointment or travel for abortion care

 can cost a patient her job.

           33.    Furthermore, some jobs that provide sick leave or paid leave may

 nonetheless require documentation of the reason for the leave. Women reluctant to

 disclose their abortions to their employers may therefore be unable to use paid or

 unpaid leave, even if their employer technically provides it; and those who do

 disclose their reason may have the request denied by a hostile employer or be

 vulnerable to retaliation as a result of their abortion.

                                            Child Care

           34.    As noted, approximately 60% of women seeking an abortion have at

 least one child. 55 Consequently, traveling for an abortion, or making an unnecessary


 54
  Rachel K. Jones et al., At What Cost? Payment for Abortion Care by U.S. Women, 23
 Women’s Health Issues e173, e174 (2013), https://www.ncbi.nlm.nih.gov/pubmed/23660430.
 55
      CDC Abortion Surveillance, supra note 12, at Table 7.

                                                 24
                                                                                      App.113
Case 1:23-cv-03026-TOR     ECF No. 61-3    filed 03/24/23   PageID.1735 Page 117 of 131




 or additional trip to a health care facility in order to obtain an abortion, may require

 child care arrangements, including when the abortion patient is the child’s primary

 caregiver, or when the time needed for the appointment and travel to and from does

 not align with the child or children’s regular childcare or school hours.

       35.    Child care costs can take up a significant proportion of a low-wage

 worker’s income. In Hawai‘i, costs range from $372 per month for part-time child

 care for a school-aged child to $589 per month for full-time infant care. Among the

 largest cities in the eight representative states analyzed above, full-time monthly

 child care for a preschooler ranges from $973 in Kansas City, MO (Jackson County),

 to $2,509 in Boston, MA. In rural counties across these states, a preschooler’s full-

 time child care ranges in cost from $471 in Dallas County, MO, to $1,047 in

 Sandisfield, MA. Altogether, child care for just one preschooler ranges from 17% to

 28% of the monthly needs budget across these eight states, averaging 21% of the

 budget.

       36.    But the daily rate for emergency short-term child care is often even

 greater than the daily rate for a month- or year-long slot. In addition, because many

 child care options, such as at a center or family home, are only available during

 regular daytime work hours, if a patient must be away overnight, the costs of child

 care are considerably higher. And if a woman cannot find or afford paid child care

 that aligns with her appointment and travel time, she may need to turn to a friend,


                                           25
                                                                                   App.114
Case 1:23-cv-03026-TOR           ECF No. 61-3        filed 03/24/23   PageID.1736 Page 118 of 131




 family member, or neighbor—which may require disclosing the reason she will be

 away, impinging on her privacy.

           The Consequences of Attempting to Pay for Abortion-Related Travel

           37.       As detailed above, the total out-of-pocket costs involved in accessing

 abortion care can be substantial compared to income. For more than half of women

 attaining an abortion in a multi-state 2014 study, out-of-pocket costs (not including

 lost wages) averaged more than one-third of their personal monthly income. 56 In

 order to pay for these costs, low-income patients often end up making economic

 trade-offs that, as noted above, can carry serious consequences for their health,

 safety, and long-term economic stability. 57

           38.       Indeed, a 2016 study concluded that two-thirds of women find it

 difficult or very difficult to pay for an abortion, and that doing so prevented or

 delayed nearly half of abortion patients from paying for at least one other basic need,

 including bills, food, rent, child care, and medical care. 58 Diverting funds from other

 basic needs in order to access an abortion can lead to additional costs and serious

 consequences. For instance, if a patient diverts any amount of rent funds and



 56
      Roberts et al., supra note 6, at e211, e214.
 57
      Id. at e216.
 58
    Deborah Karasek & Sarah C.M. Roberts, Abortion Patients’ Experience and Perceptions of
 Waiting Periods: Survey Evidence before Arizona’s Two-visit 24-hour Mandatory Waiting
 Period Law, 26 Women’s Health Issues 60, 63 (2016),
 https://www.whijournal.com/article/S1049-3867(15)00161-9/fulltext.

                                                     26
                                                                                          App.115
Case 1:23-cv-03026-TOR           ECF No. 61-3        filed 03/24/23   PageID.1737 Page 119 of 131




 therefore cannot pay her full rent, she and her family risk eviction. Other

 consequences of having to divert funds include utility cut-offs, having to rely on

 food pantries or food banks, skipping meals, missing car payments, forgoing needed

 medical or dental care, or losing a scarce spot in a child care program. 59 Each of

 these in turn can lead to major long-term harms such as job loss, food insecurity, and

 medical harm. 60

           39.     The most common source of money for an abortion is from the man

 involved in the pregnancy. 61 But borrowing from a partner can be problematic for

 some women, particularly where the relationship itself is unhealthy. The disclosure

 that results from the need for resources to cover travel and other costs (as well as


 59
   Sandra S. Butler & Luisa S. Deprez, The Parents as Scholars Program: A Maine Success
 Story, 17 Me. Pol’y Rev. 40 (2008), http://digitalcommons.library.umaine.edu/mpr/vol17/iss1/7.
 60
    Insurance does not change this calculus. Approximately two-thirds of the states restrict
 Medicaid coverage for abortion. Alina Salganicoff et al., Coverage for Abortion Services and the
 ACA, Kaiser Family Found. (Sept. 19, 2014), https://www.kff.org/womens-health-policy/issue-
 brief/coverage-for-abortion-services-and-the-aca/. Even in the states that do provide such
 coverage, many low-income women cannot access it because, for example, the income-eligibility
 threshold is too low, they are undocumented, or the time necessary to enroll will delay their
 abortion care beyond the time when they can access a medication abortion. See Kaiser Family
 Found., Health Care Coverage for Immigrants (2020), https://www.kff.org/racial-equity-and-
 health-policy/fact-sheet/health-coverage-of-immigrants/. A multi-state 2014 study found that
 nearly one-third of patients who appeared eligible for Medicaid coverage based on income and
 state of residency did not use Medicaid to pay for their abortions. Roberts et al., supra note 6, at
 e216. Many private or marketplace plans do not cover abortion either. Salganicoff et al., supra.
 Given this and other barriers, the same 2014 study found that only one in four patients with
 private insurance had their abortion covered by insurance. Roberts et al., supra note 6, at e216.
 And, the pandemic has increased the number of households that have lost health insurance
 coverage due to job loss and the associated loss of employer-provided health insurance.
 Furthermore, even for those who have coverage, Medicaid and private insurance do not cover
 other travel-related costs, such as meals, child care, and lost wages.
 61
      Jones et al. (2013), supra note 54, at e177.

                                                     27
                                                                                              App.116
Case 1:23-cv-03026-TOR       ECF No. 61-3      filed 03/24/23    PageID.1738 Page 120 of 131




 assistance with the travel itself) may increase the risk of domestic violence, 62 a

 widespread problem across the country. 63

        40.    Other tactics to raise funds carry their own risks and consequences.

 Borrowing money from a payday lender or credit card company can help pay for an

 emergency expense, but repaying such loans may result in a cycle of refinancing,

 with additional fees and compounding interest leading to increasing debt.

        41.    Monetary costs alone do not fully capture how disruptive having to

 travel for abortion care can be. At each step, from arranging care for children, to

 informing supervisors or coworkers, to securing transportation and lodging, to

 obtaining resources (whether borrowed or diverted from other needs), the

 psychological harm increases and the circle of people aware of the reason for travel

 widens, breaching patient privacy, putting relationships or employment at risk, and

 increasing the risk of domestic violence. 64



 62
    Sarah CM Roberts, Risk of Violence from The Man Involved In Pregnancy After Receiving or
 Being Denied An Abortion, BMC Med. 12:144 (2014), at 1
 https://www.ncbi.nlm.nih.gov/pmc/articles/PMC4182793/.
 63
   See id.; Ctrs. for Disease Control & Prevention, The National Intimate Partner and Sexual
 Violence Survey: 2015 Data Brief – Updated Release 2, 8 (2018)
 https://www.cdc.gov/violenceprevention/pdf/2015data-brief508.pdf (reporting that 43% of U.S.
 women had experienced some form of sexual violence in their lifetime, one in four experienced
 contact sexual violence, physical violence, or stalking by an intimate partner, and one in five
 experienced rape or attempted rape).
 64
    Jill Barr-Walker et al., Experience of Women Who Travel for Abortion: A Mixed Methods
 Systematic Review, PLOS ONE 14(4), at 18 (2019),
 https://journals.plos.org/plosone/article?id=10.1371/journal.pone.0209991 (“Participants
 discussed how the need to secure time off of work, arrange childcare, or borrow money for travel
                                               28
                                                                                           App.117
Case 1:23-cv-03026-TOR           ECF No. 61-3      filed 03/24/23   PageID.1739 Page 121 of 131




       C. Research Confirms That Increased Travel to Obtain an Abortion Delays
          or Blocks Care

           42.      An extensive body of research supports the analysis above,

 documenting that the burdens and costs associated with traveling for abortion care

 delay or prevent patients from accessing care, decrease confidentiality, and increase

 the likelihood of anti-abortion stigma from employers, families, and/or friends. 65

           43.      Research confirms that the greater the distance a patient must travel to

 access abortion, the less likely that the abortion will occur. For instance, a 2017 study

 evaluating the impact of a 2013 law that closed 24 of 41 abortion clinics in Texas—

 and thus increased the distance to the nearest clinic for many Texas women—found

 that the number of abortions declined 17% across the state between 2012 and 2014. 66

 The magnitude of the decline in abortion rates increased more substantially as the

 distance from a patient’s county of residence to the nearest abortion clinic increased:

 when the change in distance to an abortion clinic was 25–49 miles, abortions

 decreased 25.3%; when the change was 50–99 miles, abortions decreased by 35.7%;

 and when the change was 100 miles or more, abortions decreased by 50.3%. 67


 or the procedure necessitated disclosing their decision to have an abortion to people at work and
 in their personal lives.”).
 65
      Id. at 2 (summarizing findings of multiple studies).
 66
    Daniel Grossman et al., Change in Distance to Nearest Facility and Abortion in Texas, 2012 to
 2014, 317 JAMA Network 437, 437–38 (2017),
 http://sites.utexas.edu/txpep/files/2017/10/Grossman-et-al-HB2-Change-in-Distance-Abortion-
 JAMA-2017.pdf.
 67
      Id. at 438.

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Case 1:23-cv-03026-TOR        ECF No. 61-3       filed 03/24/23    PageID.1740 Page 122 of 131




        44.     Other studies have documented this same inverse relationship between

 travel distance and abortion rates even for relatively short increases in distance. In

 Washington state, when a decline in the number of abortion providers led to a 12

 mile increase in travel distance for rural women, the abortion rate among that

 population decreased by 27%. 68 In Georgia, for every 10 miles of distance from the

 major abortion providers in Atlanta, the number of abortions declined by 6.7 per

 1,000 live births. 69 And in Ohio, when clinics in Toledo and Lima closed,

 necessitating greater travel distances to reach an abortion provider, abortions rates

 in those counties and surrounding areas dropped by 25% or more the following

 year. 70

        45.     The research literature also shows a complex interrelationship between

 travel costs, distance, and delay that in turn impacts access to abortion. Travel



 68
    Sharon A. Dobie et al., Abortion Services in Rural Washington State, 1983–1984 to 1993–
 1994: Availability and Outcomes, 31 Fam. Plan. Persp. 241, 241–44 (1999),
 https://www.guttmacher.org/sites/default/files/article_files/3124199.pdf; see also Robert W.
 Brown et al., Provider Availability, Race, and Abortion Demand, 67 Southern Eco. J. 656, 658
 (2001) (in Texas, an increase of 10% in the travel distance from a woman’s county to the nearest
 city with an abortion provider was associated with a 2.3% decline in the abortion rate for white
 women, 2.7% for African-American women, and 5.0% for Hispanic women).
 69
    James D. Shelton et al., Abortion Utilization: Does Travel Distance Matter?, 8 Fam. Plan.
 Persp. 260, 260–62 (1976),
 https://jstor.org/stable/pdf/2134397.pdf?seq=1#page scan tab contents (also finding a
 significantly greater increase in abortions in two counties distant from Atlanta after new abortion
 providers opened there, as compared to other counties in the state).
 70
   Alison H. Norris et al., Abortion Access in Ohio’s Changing Legislative Context, 2010–2018,
 110 Am. J. Pub Health 1228, 1232 (2020) (abortion rate in rural counties disproportionately
 affected by clinic closures decreased more than 30% over study period).

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Case 1:23-cv-03026-TOR         ECF No. 61-3       filed 03/24/23    PageID.1741 Page 123 of 131




 burdens and costs can lead to delays in obtaining an abortion, which in turn can result

 in a patient being unable to access medication abortion or being turned away from

 the abortion clinic because by the time the patient is able to obtain the funds and

 make the necessary arrangements to get there, her pregnancy has advanced beyond

 the window for medication abortion care or the latest point in pregnancy at which

 the clinic provides services. 71 At the same time, delays can increase both the cost of

 the procedure (which typically increases as pregnancy advances and is greater for

 procedural abortion than medication abortion) and the cost of travel (for instance, if

 a patient must pay for lodging for a two-day procedure during the second trimester),

 thus causing further delay. 72 A nationwide 2014 study found that, for patients who

 were near a clinic’s limit or were turned away because they exceeded that limit, the

 most cited reason for the delay was costs, for both travel and the procedure. 73 A 2010

 71
    See Jerman et al., supra note 33, at 95, 98 (in qualitative study of 29 women traveling across
 state lines or long distances to access abortion in New Mexico and Michigan, most common
 consequence of travel and related barriers was “obtain[ing] abortions at later gestations than
 desired because of delays”); see also Norris et al., supra note 70, at 1233 (finding that patients in
 Ohio have abortions later in pregnancy than the national average and that this disparity increased
 as the number of facilities offering care in the state diminished).
 72
    Jerman et al., supra note 33, at 100 (describing the “negative feedback loop,” in which delay
 caused by difficulty raising money can lead to higher procedure costs and further delay); Diane
 Greene Foster & Katrina Kimport, Who Seeks Abortions at or After 20 Weeks?, 45 Persp. on
 Sexual & Reprod. Health 210, 214–15 (2013), https://doi.org/10.1363/4521013 (women who
 were 20 weeks or more pregnant reported difficulty getting to an abortion facility, spent more on
 travel, and experienced more delay); Norris et al., supra note 70, at 1233 (period of legislative
 and regulatory changes in Ohio that reduced access and resulted in clinic closures coincided with
 Ohioans being increasingly more likely to access abortion at later gestational ages).
 73
    Ushma D. Upadhyay et al., Denial of Abortion Because of Provider Gestational Age Limits in
 the United States, Am. J. Pub. Health 1687, 1689 (2014),
 https://doi.org/10.2105/AJPH.2013.301378 (finding that 58.3% of patients turned away and 67%
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Case 1:23-cv-03026-TOR        ECF No. 61-3       filed 03/24/23    PageID.1742 Page 124 of 131




 study in Illinois found that “[m]any women reported substantial difficulty locating a

 clinic, traveling long distances and finding transportation,” and that such obstacles

 were associated with seeking abortion care in the second rather than the first

 trimester. 74

 III.   CONCLUSION

        46.      At least three out of four abortion patients have income that is

 insufficient to meet their basic needs. The costs and burdens of traveling to obtain

 an abortion, arranging child care, and lost wages entirely prevent some women from

 obtaining abortion care. Even for those able to access care, these burdens force many

 patients to forgo other necessary expenses for themselves and their families and put

 them at risk of longer-term economic insecurity. In addition, these burdens force

 women to disclose their abortions to a wider circle of people than would otherwise

 be necessary, thus exposing some women and their families to domestic violence

 and/or longer-term economic insecurity.




 arriving just before the limit attributed their delay to “travel and procedure costs,” while 29.8%
 cited “not knowing how to get to a provider”; for first trimester patients, travel and procedure
 cost was the second-most cited reason, after “not recognizing pregnancy”).
 74
    Jessica W. Kiley et al., Delays in Request for Pregnancy Termination: Comparison of Patients
 in the First and Second Trimesters, 81 Contraception J. 446, 449 (2010),
 https://doi.org/10.1016/j.contraception.2009.12.021.

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Case 1:23-cv-03026-TOR   ECF No. 61-3   filed 03/24/23   PageID.1743 Page 125 of 131




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Case 1:23-cv-03026-TOR   ECF No. 61-3   filed 03/24/23   PageID.1744 Page 126 of 131




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Case 1:23-cv-03026-TOR                       ECF No. 61-3                filed 03/24/23             PageID.1745 Page 127 of 131




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Case 1:23-cv-03026-TOR                        ECF No. 61-3                filed 03/24/23              PageID.1748 Page 130 of 131




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Case 1:23-cv-03026-TOR                         ECF No. 61-3                 filed 03/24/23              PageID.1749 Page 131 of 131




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